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                                                                              U.S. DISTRICT CQIIRT
                          UNITED STATES DISTRICT COURT MIDDLE DISTRICT 0,1F TN.
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NORTHEASTERN DIVISION

Sarah Beth Cain,

              Plaintiff,                               NO. 2:17-cv-00055
                                                       CHIEF JUDGE CRENSHAW
              V.                                       MAGISTRATE JUDGE FRENSLEY
TENNESSEE TECHNOLOGICAL
UNIVERSITY, MARC BURNETT,
individually and in his official capacity,
KATHERINE WILLIAMS, individually
and in her official capacity, ROBERT
OWENS, individually and in his official
)capacity, KAE CARPENTER, individually
and in'her official capacity, MARLENE
HALL., individually and in her official
capacity


             Defendants.


         PLAINTIFF'S OBJECTIONS TO MAGISTRATE JUDGE'S REPORT AND
         RECOMMENDATION AND MOTION FOR DE NOVO DETERMINATION


       On August 8, 2018, Magistrate Judge Frensley filed the Report and Recommendation

("R&R")(Docket No. 38), recommending that Defendants' Motion To Dismiss Plaintiff's

Second Amended Complaint should be granted. Under 28 U.S.C. § 636(b)(1)(C), "any party may

serve and file objections to the proposed findings and recommendations of the Magistrate

Judge." Plaintiff respectfully submits specific objections and reasoning behind those objections

in this document.

                                       BACKGROUND




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            Plaintiff, Sarah Beth Cain, filed her Second Amended Complaint "Second Amended

Complaint" (Docket No. 17) on December 29, 2017, against Tennessee Technological University

("TTU")("University") , and Marc Burnett, Katherine Williams, Robert Owens, Kae Carpenter

and Marlene Hall ("individual Defendants") (col lectively, "Defendants") for violations of Title

IX of the Education Amendment Acts of 1972, violations of Plaintiff's due process rights under

42 U.S.C. 5 1983, and two state claims for intentional and negligent infliction of emotional

distress.

        Specifically, Plaintiffs causes of action are as follows: TTU violated its obligations

under Title IX by failing to conduct a timely investigation into Plaintiffs report of being raped

by another student and Defendants thereby facilitated a sexually hostile educational enviroiunent

and prevented Plaintiff from accessing resources provided by the University. Furthermore,

Defendants' conduct departed significantly from the procedures outlined in Tennessee

Technological Policy 143; Sexual Misconduct ("Policy 143") (See Exhibit 1), and Defendants'

refusal to abide by their own policies deprived Plaintiff of property and liberty interests that she

was due, without giving her notice or an opportunity to be heard.

        On November 12, 2015, Plaintiff met with Defendant Hall to file an administrative

complaint against her attacker ("Respondent") and to request that TTU investigate the assault

and take appropriate disciplinary action against Respondent. Defendants did not interview

Respondent until March 12, 2016, four months after Plaintiff filed her complaint.

        On May 17, 2016, Plaintiff met with Title IX Coordinator, Defendant Hall and the Title

IX Investigator, Defendant Owens, to answer follow-up questions, but Defendants declined to

provide Plaintiff with an anticipated day that an investigation would be concluded. Despite




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multiple requests by Plaintiff, Defendants refused to conclude the investigation for another 10

months after their May 17 meeting, or to give a reason for the excessive delay.

        On March 30, 2017, Plaintiff was notified that the investigation had been completed and

she subsequently received an email with an attached Investigative Memorandum

("Memorandum"). See Exhibit 2. The first page of the Memorandum was addressed to

Defendant Marc Burnett and was dated January 26, 2017. The Memorandum recommended that

the matter be forwarded to the Office of the Dean of Students for appropriate disciplinary

action. To the best of Plaintiff's knowledge, there was never any disciplinary action taken

against Respondent and Defend ants waited to conclude their iestigation
                                                            nv          until Respondent \-vas

no longer enrolled at TTU.

                                      OBJECTIONS TO R&R

       Under § 636(b)(1)(C) this Court must make a de novo determination of those portions of

the report to which objection is rnade. Plaintiff thus submits these detailed objections to preserve

matters for this Court's review as well as for subsequent review. As explained below, Plaintiff

respectfully objects to the following:

       1. certain factual findings and omissions of the R&R.

       2. the R&R's conclusion that no exceptions to Eleventh Amendment Inununity are

           applicable to this case.

       3. improper application of the Davis test in determining liability of Defendants under

           Title IX of the. Education Amendment Acts of 1972.

       4. the R&R's conclusion that the allegations of Plaintiff's Second Amended Complaint

           do not demonstrate that the University was deliberately indifferent to Plaintiff's peer-

           assault and harassment.




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           certain conclusions of the R&R which are based on legal theories that contradict one

           another.

       6. the R&R's conclusion and reasoning that Plaintiff cannot establish the requisite

           underlying constitutional violation to maintain her § 1983 individual capacity claims.

       7. The R&R's recommendation that this Court should decline to exercise supplemental

           jurisdiction over her state claims.

   A. Plaintiff objects to certain factual findings and omissions

   The R&R summarizes the University's response to Plaintiff's complaint without reference to

the excessive amount of time that the University took to respond. The time frame associated

with the University's investigation is a relevant fact and should be included in the findings of

fact. The University's published Policy 143: Sexual Misconduct ("Policy 143"), states that, after

receipt of a complaint alleging sexual misconduct:

"Every reasonable effort shall be made to conclude the investigation .and resolve the complaint
ivithin sixty (60) calendar days. folloiving receipt of the complaint. 147ithin this sixty (60) day
timeframe, absent good cause, it is expected that the investigator.l-vill conclude the investigation,
that the investigator ivill present a report to the Vice President for Student Affairs (if the
complainant and respondent are students) or the Vice President for Planning and Finance (if the
complaint involved employees). The investigator will notify the parties in ivriting of the Vice
President's determination. " See Policy 143 at 19.

       To the best of Plaintiff's knowledge, the University did not even begin to investigate her

complaint for more than 100 days after she filed it, when Defendant Hall notified Respondent of

the allegations against him and issued a no-contact order. If the issuance of the no-contact order

was not contingent on any prerequisite action, Defendants should have issued it immediately

after becoming aware of Plaintiff's sexual assault.

        In the R&R, the Magistrate Judge assumed that Plaintiff's description of "regular

correspondence" with university officials indicated an active investigation, but that assumption




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was based only the occurrence of communication, and it did not account for the content of those

conversations. Plaintiff initiated the large majority of these conversations to inquire about the

status of the investigation, but Defendants chose not to answer Plaintiff's questions or to provide

information about the status of an investigation.

    B. Plaintiff objects to the R&R's conclusion that no exceptions to Eleventh

        Amendment Immunity are applicable to this case.

1) According to the Department of Justice, States do not have Eleventh Amendment Invnunity
   under Title TX

In their "Title IX Manual", the Department of Justice writes:

         "It is the position of the Department of Justice that Section 2000d-7 is an
        unambiguous abrogation ivhich gives States express notice that a condition for
        receiving federal funds is the requirement that they consent to suit in federal court
       ,for alleged violations of Title IX and the other statutes enumerated ".

Similarly, the Department of Justice issued an updated "Title VI Legal Manual" in which it was

clarified that:

        "In 1986, Congress enacted 42 U.S. C. § 2000d-7 as part of the Rehabilitation Act
        Amendments of 1986, Pub. L. No. 99-506, Tit X §1003 State. 1845 (1986) to
        abrogate states' immunity, from suit for violations of Sections 504, Title VI, Title _
        IX, the Age Discrimination Act, and similar nondiscrimination Statutes ".


2) The Supreme Court has held that there are damages remedy for intentional discrimination is

    available under a Title IX private right of action.

In Jackson v. Birmingham Bd ofEd., the Supreme Court referred to its history of
decisions regarding a private right of action under Title IX

        Vlore than 25 years ago, in Cannon v. University of Chicago, 441 U. S 677, 690-
        693 (1979), ive held that Title IX implies a private right of action to enforce its
        prohibition on intentional sex discrimination. In subsequent cases, ive have
        defined the contours of that right of action. In Franklin v. Givinnetl County Public
        Schools, 503 U. S. 60 (1992), ive held that it authorizes private parties to seek
        monetary darnages,for intentional violations of Title IX. IlVe have also held that
        the private right of action encompasses intentional sex discrimination in the form



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        of o recipient's deliberate indifference to a teacher's sexual harassment of a
        student, Gebser v. Logo Vista Independent School Dist., 524 U. S. 274, 290-291
        (1998), or to sexual harassment of a student by another student, Davis v. tllonroe
        County Bd. of Ed, 526 U. S. 629, 642 (1999).

    C. Improper use of the Davis test in determining liability of Defendants under Title Ia

        of the Education Amendment Acts of 1972.

        The R&R concludes that Plaintiff's complaint does not allege sufficient facts to show that

the University acted with deliberate indifference, in major part because Plaintiff did not allege

that she was harassed or assaulted again after her initial report. The text of the R&R reads; in

part:

        The University cannot be deliberately indifferent to that of which it is unaware
        and would not reason to be cnvare. Accordingly, as far as the University was
        aware, the only incident of Plaintiff's averred peer-on-peer harassment was the
        off-campus sexual assault that set in motion the chain of events leading to the
        filing of this action ".

        In Farmer v. Kansas State University, the court'addressed_the university's failure to

respond to the plaintiffs sexual assault complaint, saying:


"the courts that have directly addressed this, issue have held that Davis requires that the funding
recipient's deliberate indifference leave the strident liable or vulnerable to frrther harassment,
not lhat,firrther harassment actually occur. Courts have consistently recognized That a student
need not allege multiple instances of sexual assault to state a plausible Title IMP claim. " (Citing
Kinsman v. Fla. State Univ. Bd. of Trs. 2015. And Korosek y. Regents of the Univ. of
Col.2015)(internal quotations omitted).


    D. Plaintiff objects to the R&R's conclusion that the allegations of Plaintiffs Second

        Amended Complaint do not demonstrate that the University was deliberately

        indifferent to Plaintiffs peer-assault and harassment.

    1. Plaintiff objects to the R&R's conclusions which are based on "the lack of allegations

        during this seven-month period". See R&R at 16.




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    Plaintiff argues that Defendants' deliberate indifference was evident within weeks of filing

her complaint. Although the University continued to inadequately address Plaintiff's complaint

between the dates of May 16, 2016 and January 11, 2017, Plaintiff s claims of deliberate

indifference are not based exclusively on this period of time.

        Plaintiff's Second Amended Complaint provides facts that are sufficient to satisfy the

elements of a claim of deliberate indifference as defined by the Davis Test. According to the

ruling in Davis, in order to establish a Title IX claim in a civil lawsuit against a university the

claimant must prove four elements: (1) the school must be a Title IX funding recipient; (2) an

"appropriate person" must have actual knowledge of the harassment the plaintiff alleves

occurred; (3) the school must act with deliberate indifference to known acts of harassment in its

programs or activities; and (4) the discrimination must be so severe, pervasive, and objectively

offensive that it effectively bars access to an equal opportunity to education.

       According to the R&R,

        "In order to hold a funding recipient liable_for• dcnnages under Title LY, a plaintiff
        must demonstrate that an appropriate person ivithin the funding recipient had
        actual notice of the harassment and ivas deliberately indifferent to it." Citing
       ,Gebser, 524 U.S. at 292-293. (internal quotations omitted). See R&R at 11.

       The R&R also states that:

       "Deliberate indifference occurs ivhen an official who, at a minimum, has
       authority to address the alleged discrimination and to institute corrective
       measures on the recipient's behalf, has actual knowledge of the discrimination
       and fails to respond adequately. " Citing Gebser, 524 at U.S. 290. See R&R at
       12.

       It is undisputed that the University is a Title IX funding recipient, and thus satisfies the

first element of the Davis Test. Plaintiff's Second Amended Complaint satisfies the second

element of the Davis Test, which requires that an appropriate person be given actual notice of the

harassment, and is further exemplified and explained in the following paragraphs. According to



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Tennessee Tech Policy 143, in part, addresses the responsibilities of the Title IX Coordinator,

any appointed Investigator, University Counsel, Vice President of Student Affairs and the Dean

of Students. Excerpts from this policy include the following:

"The Title IX Coordinator, in consultation ivith the appropriate Cabinet members, nnay designate
deputies and ini,estigators ("designees') to assist in carrying out any of the responsibilities
related to implementing this policy. See Policy 143 at 16.

"All complaints of sexual misconduct shall be presented to the Title A' Coordinator or designee
for investigation and appropriate disposition. " Id.

"After consultation ivith University Counsel, if the Title IX Coordinator determines that the
complaint contains an allegation of sexual misconduct, the Title IX Coordinator shall folloli, the
procedures set_forth in this policy to investigate and adjudicate the complaint " Id, at 17.

" If a final decision has been made that a policy violation occurred, the respondent shall be
referred to the appropriate personnel for a determination of discipline. The appropriate
personal ivill be determined by the status of the respondent. For example, if the respondent is a
student, the matter may be referred to the student conduct officer" Id, at 21.


           Plaintiff personally spoke to Defendant Hall (Title IX Coordinator) and Defendant

Owens (Title IX Investigator) about her assault, and Plaintiff has records of emails in which

Defendant Carpenter (University Counsel), and Defendant Burnett (Vice President of Student

Affairs) vwere also notified of her sexual assault and that Defendant Burnett was advised to

forward the information on to the Office of the Dean of Student. Therefore, it is indisputable that

at least four University employees were given actual notice of the complaint at that each of these

Defendants had the authority to address the complaint and to institute corrective measures on

Plaintiff's behalf.I




I.    It is unclear. at this junction, whether Mr. Burnett actually forwarded the Investigative Memorandum to the Office of the Dean of Students.

therefore Defendant Williams is not counted among the employees that were indisputably given actual notice.




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         The third element of the Davis test, which states that the school must have been

 deliberately indifference to Plaintiff's complaint, is demonstrable by review of communications

 among Plaintiff, Plaintiff's former attorney, and Defendants, and is exemplified by the excessive

 and unexplained amount of time that the University took to investigate Plaintiff's complaint.

         In addition to the timeline, Defendants' repeated refusals to conduct a timely

 investigation or to update the Plaintiff as to the status of any such investigation can be inferred

 from email exchanges, such as the following:

         On January 19, 2016, Plaintiff emailed Defendant Hall, writing

        "If it 's starling to look like ripe imn'l be able to proceed, for ii hatever reason. I'd rather
 know now than in the middle of the semester ".

         On February 10, 2016, Plaintiff emailed Defendant Hall, writing

         You are probably tired of having to constantly reassure me, but I have to do nnhat is best

°for me and if there is a reason to believe that this investigation won't ever happen, I'd rather

know now than find out in the middle of the semester"

        On May 2, 2016, Plaintiff's former attorney, Mr. Alex Little, wrote to Defendant Hall on

Plaintiff's behalf to request that TTU provide "an immediate update" regarding the status of the

investigation. On May 6, 2016, University Counsel, Defendant Carpenter sent an email to Mr.

Little in which she refused to provide an update about the investigation.

        The correspondences described above are specific instances in which Defendants were

asked for information or explanation regarding a timeline for the initiation and/or conclusion of

an administrative investigation and declined to provide information. Given that the complaint

was based on a report that Plaintiff was raped by a fellow student, this response was clearly

inadequate and unreasonable.




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        Finally, the fourth element of the Davis Test is that the harassment must be so severe,

pervasive, and objectively offensive that it effectively bars access to an equal opportunity to

education. Courts have addressed the issue of the severity of sexual assault as a form of

harassment. In Kelly v. Yale, the Court directly addresses this severity element of the Davis test,

stating that


"There is no question that a sexual assault... constitrttes severe and objectively offensive sexual
harassment" See Kelly v. Yale, 2003.

        Deliberate indifference means that the defendant's response or lack of response to the

alleged harassment was clearly unreasonable in light of the known circumstances. In Hyut v.

State Universily ofNeiv York, the Second Circuit acknowledged that


"Deliberate indifference may be found both inhere the defendant's response is unreasonable in
light of the knoivn circzmnstonces and gven the remedial action only folloivs after a lengthy and
unjustifiable. delay.

        Through the circumstances described above, Plaintiff has demonstrated that there are

actual facts to indicate that Defendants' acted unlawfully and therefore her complaint should not

be dismissed.


    E. Plaintiff objects to the reasoning given for dismissal of her § 1983 claims and her

        Title IY claims because they rely on legal theories that are mutually exclusive.


    The R&R recommends dismissal of Plaintiff's § 1983 claims against Defendants in their

official capacities on the grounds that
                                                                                     i
        "faJn official capacity claim filed against a public employee is equivalent to a
        lawsuit directed against the public entity ivhich the agent represents" and that
        "As such, when a public employee is sited in his or her official capacity the claims
        are essentially made against the public entity". and that "Eleventh Amendment
        immunity protects states, as ivell as state officials in their official capacities for
        being sited in federal court for money damages ".



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         If defendants are considered to be a public entity for the purposes of avoiding liability

under § 1983, then they must also be considered a public entity for the purposes of determining

liability under Title IX. The R&R recommends dismissal of Plaintiff's Title IX claims against

Defendants' in their individual capacities by reasoning that "Title IX applies to recipients of

federal funds" and concludes that "Because the individual Defendants are not themselves

recipients of federal funds, they cannot be held liable". See IRR R at IL

         If defendants are considered to be a public entity and, under this consideration, attempt to

exercise immunity granted to state institutions, then they must also identify as recipients of

benefits granted to those institutions. Consequently, if considered a public entity, Defendants

were, in fact, recipients and federal funding and therefore can be held liable under Title IX. The

corollary to the contradiction described above is that, if Defendants are able to avoid liability

under Title IX'by claiming that as individuals; they are not recipients of federal funds, then they. -

must also be considered individuals for the purposes of determining liability for violations of

§1983.

   F. The R&R's conclusion and reasoning that Plaintiff cannot establish the requisite

         underlying constitutional violation to maintain her § 1983 individual capacity

         claims.

As explained previously, Defendants knowingly and repeatedly refused to follow their published

procedures to respond to Plaintiff's complaint of student-on-student sexual assault. Defendant's

had a duty, as described by their own policies, to provide Plaintiff with interim measures to help

Protect her ability to her continue to pursue her education on campus, in spite of the fact that she

was constantly fearful that she would encounter her attacker ou campus. The individual

Defendants reasonably should have known that Plaintiff would be effectively unable to freely



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access the resources available through the school. Furthermore, Defendants actually knew that

Plaintiff had paid the University tuition with the expectation that she would not be precluded

from accessing university resources for reasons outside her control. Defendants' unreasonable

response to Plaintiff's complaint deprived her of a property interest, in the form of benefits

offered by the school, a liberty interest in her ability to acquire useful knowledge, and a

reputational interest in the form of damage to her GPA that will likely affect her ability to find

employment. Policy 143 states that

       "If the im)estigator or Vice President determines that additional time is needed,
       both parties shall be notified in ivriting of the delay, the anticipated date that the
       investigation 11411 b e concluded, and reasons. for such delay. "

       In the 16 months between Plaintiff s November 12 meeting with Defendant Hall and

TTU's release of the Investigative Memorandum to Plaintiff, she was never provided notification

to explain the delay and was never provided an anticipated date that the investigation would be

concluded. Policy 143 also addresses some measures that TTU employees can take while

investigating a complaint. The text of Policy 143 reads, in part:

    In situations that require immediate action because of safety or other concerns,
    Tennessee Tech ivill take any reasonable administrative action that is
    appropriate. Exaiiiples of such interim actions include, but are not limited to.-
         1. Providing an escort to ensure that the complainant can move safely betiveen
             classes and activities
         2. Provide academic support services, such cis tutoring
         3. Arrcmging. for the complainant to retake a course or iithdraw from a class
             i-vithout penalty, include ensuring that any changes do not adversely affect
             complainant's academic record Id at 22-23.


If Defendants' response had been consistent with the procedures in Policy 143, any of the

Individual Defendants could have notified Plaintiff of interim measures available, and Plaintiff

could have chosen to withdraw from her courses without penalty. Plaintiff sent several emails to

Defendant Hall during November and December 2015 to assure Ms. Hall that Plaintiff wanted to



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be cooperative and helpful, and specifically that she was working on a written statement to

submit, but also expressed that this process was interfering with her studies.

On December 4, 2015, Plaintiff wrote to Defendant Hall, saying:

       "Ms. Hall, I am trying to get done ivriting this statement but also make a last
       effor7 to pass »host/maybe all of any classes. Is this sonnething j)oit are going to
       need to read? It's already three pages and I'm not done. I 'rn guessing it's too late
       to drop any classes, right? "

On December 13, 2015, Plaintiff wrote to Defend Hall, saying:

"I attempted to contact one of my professors about my grade by email. He never emailed m.e
back and posted it as an F on Tech's online student portal. That class 1vould have been a
prerequisite . for several others. "


       Although Defendant Hall mentioned the tern "academic accommodations" occasionally

in response to Plaintiff's complaints of being unable to keep up in her classes, Defendant Hall

did not specify what such accommodations might include and certainly did not inform Plaintiff

that she could" retake a course or withdraw from a class without penalty, include ensuring that

any changes do not adversely affect complainant's academic record.". See Policy 143 at 22.

Ultimately, Plaintiff did fail one of the classes most fundamental to her major, and had to retake

it the next semester (this grade was later changed to a "D" after Plaintiff s advisor intervened on

her behalf, but she had to retake the course nonetheless). This set her graduation date back a

semester and left a permanent record on her transcript.

       In addition to deviating extensively from the procedures in Policy 143, Defendants'

deprived Plaintiff of equal treatment under the law. Plaintiff was interviewed twice by

Defendants', at least once by herself, whereas Respondent had his attorney present for all

meetings with Defendant. Defendant Hall also strongly and persistently encouraged Plaintiff to

submit a written account of her complaint, which Plaintiff wrote and submitted in a timely




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manner. However, to the best of Plaintiff's knowledge, Respondent did not submit anything in

writing to Defendant Hall or any other university employee to record his account of the assault.

        Defendants' failure to abide by the procedures, as described in Policy 143, deprived

Plaintiff of the property interests, liberty interest, and reputational interests described

above. Plaintiff has records of email exchanges in which she discusses her declining academic

performance, and the inuninent threat that this posed to her ability to obtain the degree she

sought, but Defendant Hall did not assist Plaintiff or offer any of the interim measures previously

mentioned.

    G. The R&R's recommendation that this Court should decline to exercise supplemental

        jurisdiction over her state claims.

       Plaintiff, at this stage of the proceedings, has sufficiently alleged facts that indicate that

Defendants' acted unlawfully and states a claim upon which relief can be granted. Since

Plaintiff has set forth sufficient facts, with respect to her claims under Title IX and her claims

under U.S.C. § 1983, to survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), this Court

should also exercise its jurisdiction to Plaintiff's State Law Claims.

        As a final note, Plaintiff filed a reply to Defendants' Motion to Dismiss, in v-vhich she

provided additional details to support the claims in her Second Amended Complaint. The

information in Plaintiff's reply gave further examples of the sexually hostile nature of the

educational environment, and detailed an additional level of discrimination associated with her

dual status as a student and employee of the University at times relevant to this action.

Defendants' filed a sur-reply in which they argued that the information contained in Plaintiff's

reply could not be used for the purposes of considering the Motion to Dismiss. Plaintiff

respectfully requests that, if this Court chooses to grant Defendants' Motion to Dismiss, that this




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Court also grant Plaintiff Leave to Amend so that she can refile her complaint to include the

information which was presented in her Reply to Defendants' Motion to Dismiss.




                                         CONCLUSION


        Plaintiff s Second Amended Complaint alleged sufficient facts to indicate that there is a

mere possibility that Defendants acted unlawfully and Defendants' Motion to Dismiss should not

be granted. The general standard used for deteirnining liability for an inadequate response by a

university to student sexual harassment relies largely on whether the action taken by the

university was unreasonable in light of the known circumstances. Defendants knew that Plaintiff

reported that she had been raped by another TTU student, that Plaintiff was suffering emotional

and cognitive impairments as a result, and that Plaintiff was effectively unable to freely access

resources offered by the University, and yet Defendants failed to initiate an investigation for 100

days after Plaintiff filed her complaint and did not conclude the investigation until Respondent

had already left the University. This response was clearly unreasonable in light of the known

circumstances and Plaintiff has sufficiently alleged facts that support her claims. For the reasons

stated in this document, Defendants' Motion to Dismiss should be dismissed.




                                          Respectfully Submitted this 5", Day of September, 2018

                                                                                   Sarah Beth Cain

                                                                                            Plaintiff

                                                                          C1 l5"l i g
                                                                                             (Date)




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                                                                    (Signature)



                                                                (Printed Name)




                                                (Address and Telephone Number)




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Tennessee Technological University
Policy No. 143




                     Mis-conduct




Effective Date: July 1, 2015



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Policy No.: 143
Policy Name: Sexual Misconduct
Policy Subject: Policy and procedures related to allegations of incidents of domestic violence,
dating violence, sexual assault, and stalking
Effective Date: July 1, 2015

           Purpose

This policy is intended to provide a single, easily accessible and user-friendly document for
students, employees and others affected by sexual misconduct to find information regarding
Tennessee Tech's rules and procedures related to the offenses defined herein.

     II.   Scope

           A. These procedures shall be utilized by:

           1. Any employee or student who has been a victim of sexual misconduct, regardless
              of sexual orientation or gender identity/expression;

           2. Former employees or students if the conduct took place during the time of
              employment or enrollment at Tennessee Tech and the conduct has a reasonable
              connection to the institution; and

           3. All third parties=with whom Tennessee Tech has an educational or business              _
              relationship and the conduct has a reasonable connection to the institution.

           B. This policy is adopted specifically to address the offenses defined herein. All
              other forms of sex discrimination including sexual harassment are also strictly
               prohibited. Allegations that are not within the scope of this policy are subject to
              the procedures described in TBR Guideline 11-080 as adopted and implemented by
              Tennessee Tech Policy 141.

   III.    Review

This policy will be reviewed every four years or whenever circumstances require review,
whichever is earlier, by the Title IX Coordinator in consultation with the Vice Presidents for
Planning and Finance and Student Affairs with recommendations for revision presented to the
Administrative Council and University Assembly.

    IV.    Definitions

           A. Consent — an informed decision, freely given, made through mutually
              understandable words or actions that indicate a willingness to participate in
              mutually agreed upon sexual activity. Consent cannot be given by an individual
              who is asleep; unconscious; or mentally or physically incapacitated, either
              through the effect of drugs or alcohol or for any other reason; or, is under duress,
              threat, coercion, or force. Past consent does not imply future consent. Silence or




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                an absence of resistance does not imply consent. Consent can be withdrawn at
                any time.

            B. Dating Violence — violence against a person when the accuser and accused are
               dating, or who have dated, or who have or had a sexual relationship. "Dating"
               and "dated" do not include fraternization between two (2) individuals solely in a
               business or non-romantic social context. Violence includes, but is not necessarily
                limited to:

            1. Inflicting, or attempting to inflict, physical injury on the accuser by other than
               accidental means;

           2. Placing the accuser in fear of physical harm;

           3. Physical restraint;

           4. Malicious damage to the personal property of the accuser, including inflicting, or
              attempting to inflict, physical injury on any animal owned, possessed, leased,
              kept, or held by the accuser; or

           5. Placing'a victim in fear of physical harm to any animal owned, possessed, leased,
              kept, or held by the accuser. TCA § 36-3-601(5)(c)

           C. Domestic Violence- violence againsta person when the accuser and accused:

           1. Are current or former spouses;

           2. Live together or have lived together;

           3. Are related by blood or adoption;

           4. Are related or were formally related by marriage; or

           5. Are adult or minor children of a person in a relationship described above.

Domestic violence includes, but is not necessarily limited to, the following:

           1. Inflicting, or attempting to inflict, physical injury on the accuser by other than
              accidental means;

           2. Placing the accuser in fear of physical harm;

           3. Physical restraint;




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           4. Malicious damage to the personal property of the accuser, including inflicting, or
              attempting to inflict, physical injury on any animal owned, possessed, leased,
              kept, or held by the accuser; or

           S. Placing the accuser in fear of physical harm to any animal owned, possessed,
              leased, kept, or held by the accuser. TCA § 36-3-601

           1). Responsible Employee — a Tennessee Tech employee who has the authority to
               redress sexual misconduct, who has the duty to report incidents of sexual
               misconduct, or whom a student could reasonably believe has this authority or
               duty.

           E. Sexual Assault— the nonconsensual sexual contact with the accuser by the
              accused, or the accused by the accuser when force or coercion is used to
              accomplish the act, the sexual contact is accomplished without consent of the
              accuser, and the accused knows or has reason to know at the time of the contact
              that the accuser did not or could not consent. Sexual contact includes, but is not
              limited to, the intentional touching of the accuser's, the accused's, or any other
              person's intimate parts, or the intentional touching of the clothing covering the
              immediate area of the accuser's, the accused's, or any other person's intimate
              parts, if that intentional touching can be reasonably construed as being for the
              purpose of sexual arousal or gratification.

           F. Sexual Misconduct - for the purposes of this policy, "sexual misconduct" is
              defined as'domestic violence, dating violence, sexual assault, and stalking.

           G. Stalking — a willful course of conduct involving repeated or continuing
              harassment of another individual that would cause a reasonable person to feel
              terrorized, frightened, intimidated, threatened, harassed, or molested, and that
              actually causes the accuser to feel terrorized, frightened, intimidated, threatened,
              harassed, or molested. Harassment means conduct directed toward the accuser
              that includes, but is not limited to, repeated or continuing unconsented contact
              that would cause a reasonable person to suffer emotional distress, and that
              actually causes the accuser to suffer emotional distress. Harassment does not
              include constitutionally protected activity or conduct that serves a legitimate
              purpose. TCA § 39-17-315

     V.    Policy

Tennessee Tech intends to comply fully with Title IX of the Education Amendments of 1972,
Section 485(f) of the HEA, as amended by Section 304 of the Violence Against Women
Reauthorization Act of 2013, the regulations implementing these Acts found at 34 CFR § 668.4 1 .,
§668.46, and Appendix A to Subpart D of Part 668. Sexual misconduct is a form of sex
discrimination prohibited by Title IX and Tennessee Tech.




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  VI.    Immediate Steps a Victim Should Take

        A. hn the immediate aftermath of a sexual assault, domestic violence, dating violence
            or similar event, the most important thing is for the victim to get to a safe place
           and to call 911 if in immediate danger.

        B. When a feeling of safety has been achieved, the victim should seek medical
           attention, regardless of his or her decision to report the crime to the police. It is
           very important for the victim of sexual assault to seek medical attention
           immediately so that the victim can be screened for sexually transmitted
           diseases/pregnancy/date rape drugs, obtain emergency contraception, and receive
           treatment for any physical injuries.

        C. Victims have the right to accept or decline any or all parts of a medical exam.
           However, critical evidence may be lost or missed if not collected or analyzed.

        D. Valuable physical evidence can be obtained from the victim and the victim's
           clothing. Victims should make every effort to save anything that might contain
           the perpetrator's DNA. Therefore, if at all possible, a victim should not:

        1. Bathe or shower;

        2. Wash his or her hands;

        3. Brush his or'her teeth;

        4. Use the restroom;

        5. Change clothes;

        6. Comb hair;

        7. Clean up, move things, or change anything associated with the crime scene; or

        g. Move anything the offender may have touched.

        E. Even if the victirn has not yet decided to report the crime, receiving a forensic
            medical exam and keeping the evidence safe frorn damage will improve the
            chances that the police can access and test the stored evidence if the victim
            chooses to prosecute at a later- date.

        F. Victims of sexual misconduct are encouraged to preserve evidence by saving text
            messages, instant messages; social networking pages, other communications, and
            keeping pictures, logs or other copies of documents, if they have any, that would
            be useful to investigators.



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         G. A list of additional resources may be found here.

  VII.   Confidentiality Considerations

         A. Tennessee Tech encourages victims of sexual misconduct to talk to somebody
            about what happened so they can get the support they need and so Tennessee
            Tech can respond appropriately. Though Tennessee Tech will keep reports as
            confidential as possible, it cannot guarantee the confidentiality of every report or
            complaint. The following provisions detail the confidentiality options available to
            individuals.

         B. Reports to Tennessee Tech professional licensed counselors are confidential
            in every respect to the extent allowed by law

         1. Professional licensed counselors who provide mental-health counseling to
            members of Tennessee Tech's community (and including those who act in that
            role under the supervision of a licensed counselor) are not required to report any
            information about an incident to the Title IX Coordinator and will not do so
            without a victim's written permission.

         2. Contact information for professional licensed counselors who offer their
            services through Tennessee Tech


        DEPARTMENT                  LOCATION                       WEBSITE                          '
     (DURING business         TTU, Roaden University        931-372-3331
     hours - Monday —         Center, Rm. 307
     Friday, 8:00 am - 4:30                                 ht                       edu/stud
     pm)                                                    entaffai rs/co u n sell/

     TTUU Counselin~,, Center „
     (AFTER business          TTU, Roaden University        Option #1: Call 911 and ask
     hours)                   Center, Rm. 307 (closed       TTU Police to contact
                              after business hours but      counselor on call.
     TTU Counseling Center can be reached through
                              TTU Police)                   Option 42: Go to nearest
                                                            hospital ER.

                                                            htthS;//\V\~:'~t:tnteoh:_e_ dtT/4tutl
                                                            entaffairs/counsel/
     (Available 2417)                                       855-HERE4TN (437-3486)
                                                            or
     Employee Assistance                                    615-741-1925
     Program (EAP)
                                                            Lit tpS:/•1iVWW,tittech.edt1 tlnII
                                                            nine-,util-
                                                            tmance/hr!benefits/current-




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                                                           n11 p.sj!Lnll_ or
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        3. Professional licensed counselors will maintain confidentiality of any such reports
           unless required by law or court order to disclose the information. For example,
           Tennessee's mandatory reporting law related to abuse of minors, imminent harm
           to others, or subpoenas for testimony may require disclosure of all information
           received.

        4. If the employees or volunteers identified in this section determine that there is
           imminent threat to others and Tennessee "Tech determines that the alleged
           perpetrator(s) pose a serious and immediate threat to the Tennessee Tech
           community, Tennessee Tech may be called upon to issue a timely warning to the
           community. Any such warning will not include any information that identifies the
           victim.

       5. A victim who speaks to a professional licensed counselor must understand that, if'
          the victim wants to maintain confidentiality, Tennessee Tech will be unable to
          conduct an investigation into the particular incident or pursue disciplinary action
          against the alleged perpetrator(s).

       6. Professional licensed counselors will assist the: victim in receiving other necessary
          protection and support, such as victim advocacy, academic support or
          accommodations, disability, health or mental health services, and changes to
          living, working or course schedules.

       7. In some cases, providing requested assistance might require the professional
          licensed counselor to reveal identifying information to other individuals.

       8. Professional licensed counselors must receive written permission from the victim
          to reveal the minimum information necessary to arrange requested assistance.

       9. Upon receipt of written permission to disclose confidential information to
          Tennessee Tech, professional licensed counselors must contact the Title IX
          Coordinator and the University Police if a victim decides to file a complaint with
          Tennessee Tech or report the incident to local law enforcement.

       C. Reports to non-professional counselors and advocates are confidential as to
          name and other identifying information and to the extent allowed by law

       1. Individuals who work or volunteer in the on-campus Women's Center, Health
           Services, other Tennessee Tech health professionals acting as such, and SANE
           nurses, including front desk staff and students, can generally talk to a victim




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            without revealing any personally identifying information about an incident to
            Tennessee Tech's Title IX Coordinator.

        2. A victim can seek assistance and support from the offices identified in this section
           without triggering an investigation that could reveal the victim's identity or that
           the victim has disclosed the incident.

        3. While maintaining a victim's confidentiality, these individuals or their office must
           report the nature, date, time, and general location of an incident to the Title IX
           Coordinator. This limited report shall not include information that would directly
           or indirectly identify the victim.

        4. Before reporting any information to the Title IX Coordinator, these individuals
           will consult with the victim to ensure that no personally identifying details are
           shared with the Title IX Coordinator.

        S. CONTACT INFORMATION


      TTU Health Services       TTU, Bell Hall/Nursing        931-372-3320
                                Bldg., Rm. 100
                                                              hops                  cdri/
                                                             studentaffairs/healthsery
                                                             Aces/
      TTU Women's Center        TTU, Pennebaker Hall,        931-372-3850
                                Rm. 203
                                                              hu ls,//.4 J \v\V.lntedyiedu/
                                                              \vomen/
      TTU SANE (Sexual          On-call status                Call T`IJ Health
      Assault Nurse                                           Services (931-372-3320)
      Examiner) — Sensitive                                   or TTU Police (911),
      medical evidence                                        who, in turn, will notify
      exams for sexual                                        a SANE RN of the
      assault victims                                         urgency.
      provided by SANE-
      certified Nursing
      faculty members

        6. Employees and volunteers in the offices identified in this section will maintain
           confidentiality of any information that could directly or indirectly identify the
           victim unless required by law, rule, or court order to disclose the information. For
           example, Tennessee's mandatory reporting law related to abuse of minors,
           imminent harm to others, or subpoenas for testimony may require disclosure of all
           information received.

        7. If the employees or volunteers identified in this section determine that there is
           imminent threat to others and Tennessee Tech determines that the alleged

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                 perpetrator(s) pose a serious and immediate threat to the Tennessee Tech
                 community, Tennessee Tech may be called upon to issue a timely warning to the
                 community. Any such warning will not include any information that identifies the
                 victim.

              8. A victim who speaks to an individual covered by this section must understand
                 that, if the victim wants to maintain confidentiality, Tennessee Tech may be
                 unable to conduct an investigation into the particular incident or pursue
                 disciplinary action against the alleged perpetrator.

             9. Individuals covered by this section will assist the victim in receiving other
                necessary protection and support, such as victim advocacy, academic support or
                accommodations, disability, health or mental health services, and changes to
                living, working or course schedules.

             10. In some cases, providing requested assistance might require the individuals
                 covered by this section to reveal identifying information to other individuals.

             11. Individuals covered by this section must receive written permission from the
                 victim to reveal the minimum information necessary to arrange requested
                 assistance.

             12. Upon receipt of written permission to disclose confidential information to
                 Tennessee Tech, individual covered by this section must contact the Title IX
                 Coordinator and the'University Police if a victim decides to file a complaint with
                 Tennessee Tech or report the incident to local law enforcement

             D. Reports to off-campus counselors and advocates may be confidential to the
                extent allowed by law

             1. Off-campus counselors, advocates, and health care providers will also generally
                maintain confidentiality and not share information with Tennessee Tech unless
                the victim requests the disclosure and signs a consent or waiver form.

             2. Following is contact information for these off-campus resources:

Cookeville Regional       Emergency: 911       10 E. Broad St.,              www.cookeyill~xalicc.c
Medical Center            Non-emergency:       Cookeville, TN 38501          om.
                          931-528-2541
Cookeville Ambulance      Emergency: 911       701 County Services Dr.,
Service                   Non-emergency:       Cookeville, TN 38501          w1vw.putnamems.oru
                          931-528-1555
Genesis house -Has        Hotline:             PO Box l 180; Cookeville              en~sisbouseinc..e
local office and          931-526-5197         TN 38503                      om/
domestic shelter; also    or
on-site victim advocacy   800-707 - 5197




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for emergencies
Sexual Assault Center      Crisis & Support   101 French Landing Dr.,        littp://w,~vw.sacentet-.org/
                           Line 1-800-879-    Nashville, TN 37228
                           1999
TCADSV ('IN                Statewide          2 International Plaza          wty~vy.tcadsv.or
Coalition Against          Domestic           Drive, Suite 425,
Domestic and Sexual        Violence and       Nashville, TN 37212
Violence)                  Child Abuse
                           Hotline:
                           800-356-6767

 TCEDSV (TN                615-386-9406       2 International Plaza          tncoalition.org
 Coalition to End                             Drive, Suite 425,
 Domestic & Sexual                            Nashville, TN 37212
 Violence)
 Americans Overseas        Hotline:           PO Box 25007                   http://~~J4~~~~J;~16tus~ic~mr
 Domestic Violence         866-t1SWOMEN       Portland, OR 97298
 Crisis Center             (879-6636)
 Disaster Distress         Hotline:           Substance Abuse &        t1til?_((}t'~K~~.disas.t4t'clistr
 Helpline                  800-985-5990       Mental Health Services g Wk
                                                                        .s sanilis,i:~iz~ti!'.
(for those suffering                          Administration, 1 Choke
 from stress in reaction                      Cherry Rd, Rockville, MD
 to natural or manmade                        20857
_disaster
       _ )..,.
 GLBTQ Domestic            Hotline:           955 Massachusetts              1~ttpaiwww.glbtddvp.org
Violence Project           800-832-1901       Avenue, PMB 131
                                              Cambridge, MA 02139                          _
LGBTQ Trevor               Hotline:           8704 Santa Monica Blvd         htCp.://t~+u~~~.tlictrcye~i'ltre
Lifeline                   866-488-73.86      Suite 4200, West               'ect.or l
                                              Hollywood, CA 90069
Love Is Respect            Hotline:                                          ht_tl?:!!w~~~~.lortitires0ce
                           866-331-9474                                           u/
                                                                             t o rg
                           or
                           (TTY) 866-331-                                    NOTE: You can also
                           8453                                              text "campus", "loveis"
                                                                             or'`I-IELP" to 22522 for
                                                                             support. Msg & Data
                                                                             Rates apply on text for
                                                                             help services.
Mobile Crisis Response National Hotline:                                     ht p: i~~~~v:recu_~er~tit
Team                   855-CRISIS-1                                          lhinreach.or~/treatment/c
                           or                                                i?ntillltic rl'ltyllt:~/Ill()17.IIC1'I
                           855-274-7471                                      s1:5
                                                                             or                   .
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                                                                              Very/crltils     sery.shl lnI




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National Domestic         Hotline:            PO Box 161810, Austin,       Intl>:/ht=4e~~.thalxrtlinZ.~ar
Violence Hotline          800-799-SAFE        TX 78716                     a/-
                          (7233) or
                        (TTY) 800-787-
                        3224
National Sexual Assault See RAINN for         See contact information      See contact information
Hotline                 hotline number.       for RAINN.                   for RAINN.
National Suicide        Hotline:              TN Suicide Prevention        lrttj~:/rts an.or
Prevention Lifeline     (English) 800-        Network, 295 Plus Park       hcl :iIlo\v.
                        273-TALK              Blvd, Suite #201,            Or
                        (8255)                Nashville, TN 37217
                        (Spanish) 888-                                     nti~3nlil`clir~e.c~r/
                        628-9454)
                        (TTY) 800-799-
                        4889
Overseas Citizens       (from US or           To locate a US consulate     httli:lJtrttvei,st~ite.pi~.~fco
Services                Canada)               or embassy, go to            n tell i'pg,,5portti:'c..nL;l,isli e
                          888-407-4747        htt >://www.usembass '. ro   mergncies.huitl
                          or                  v/                           and/or
                          (from overseas)                                  11t1t~altiave.lai'~tc.~Jo~/ccr.
                          +1-202-501-4444                                  iitentliztssjciitl~i%lsli
                                                                           nler~dG1lhlCtift=lctllals.ltlml
RAINN (Rape, Abuse         Hotline:           1220 L Street, NW            «,Avwxainn.org
& Incest National -        800) 656-HOPE      Suite 505                                                 _
Network)                   (4673)             Washington, DC 20005
SAMHSA's National          Hotline:           Substance Abuse &        1)ttwt/beta.safflb- a;~
Helpline                   800-662-HELP       Mental Health Services   nd-hcl
(for mental health         (4357) (in English Administration, I Choke
issues and/or substance    or Spanish)        Cherry Rd, Rockville, MD
use/abuse)                 or                 20857
                           (TTY) 800-487-
                           4889
Veteran's Crisis Line      Hotline:           Substance Abuse &        1~11heta.san~hs t.oy/i i
(for veterans in crisis as 800-273-8255       Mental Health Services   nd-hcl
well as for their          or                 Administration, 1 Choke
families and friends)      (TTY) 800-799-     Cherry Rd, Rockville, MD
                           4889               20857

            3. While these off-campus counselors and advocates may maintain a victim's
                confidentiality vis-a-vis Tennessee Tech, victims should discuss concerns related
                to the limits of confidentiality with the off-campus counselors, advocates and
                health care providers. Those individuals may have reporting or other obligations
                under state law such as reporting under Tennessee's mandatory reporting law
                related to abuse of minors, imminent harm to others, or subpoenas for testimony
                that may require disclosure of information received.


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        E. Reports to responsible employees may not be confidential but will be handled
           in as confidential a manner as possible

        1. When a complainant tells a responsible employee about an incident of sexual
           misconduct, Tennessee Tech will take immediate and appropriate steps to
           investigate what happened and to resolve the matter promptly and equitably.

        2. A responsible employee must report to the Title IX Coordinator all relevant
           details about the alleged sexual misconduct.

        3. To the extent possible, information reported to a responsible employee will be
           shared only with people responsible for handling Tennessee Tech's response to
           the report.

        4. A responsible employee shall not share information with law enforcement without
           the complainant's consent or unless the victim has also reported the incident to
           law enforcement.

        S. Employees in the following list are Tennessee Tech's designated responsible
            employees;

        a. Supervisors (administrative and faculty);

        b. All faculty. (permanent, temporary, adjunct; etc.);

        c. Advisors for academic matters or student organizations;

        d. Teaching assistants;

        e. Graduate assistants;

        f. Resident advisors;

        g. Title IX Coordinator and designees;

        h. University Police;

        i. Campus Security Authorities unless they fall within the terms of Section VII.C;
           and

        j.   Other positions as designated by the Vice President or Director of the unit.

        6. Before a complainant reveals any information to a responsible employee, the
            ernployee must ensure that the complainant understands the employee's reporting
            obligations.




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        7. If the complainant wants to maintain confidentiality, the responsible employee
           must direct the victim to confidential resources.

        8. If the complainant wants to tell the responsible employee what happened but also
           maintain confidentiality, the employee must advise the complainant that
           Tennessee Tech will consider the request, but cannot guarantee that it will be able
           to honor it. In reporting the details of the incident to the Title IX Coordinator, the
           responsible employee will also inform the Coordinator of the complainant's
           request for confidentiality.

        9. Responsible employees will not pressure a complainant to request confidentiality,
           but will honor and support the complainant's wishes, including for Tennessee
           Tech to fully investigate an incident. By the same token, responsible employees
           will not pressure a complainant to make a full report if the complainant is not
           ready to do so.

       10. All reports of sexual misconduct made to University Police will automatically be
           referred to the Title IX Coordinator for review and investigation, if appropriate,
           even if the complainant declines to pursue criminal charges.

       11. Reporting to University Police (Nottingham Act requirements under Tennessee
           State law)

       a.°--Unless a rape victim does not consent to the reporting:of an offense, the
           University Police shall immediately notify the local law enforcement agency with
           territorial jurisdiction over Tennessee Tech if the officer is in receipt of a report
           from the victim alleging that any degree of rape has occurred on Tennessee
           Tech's property. The chief security officer or chief law enforcement officer shall
           designate one (1) or more persons who shall have the authority and duty to notify
           the appropriate law enforcement agency in the absence of the chief security
           officer or chief law enforcement officer. Upon notification, it shall be the duty of
           each law enforcement agency to participate in a joint investigation. In the case of
           an alleged rape, Tennessee Tech's University Police shall lead the investigation.
           After notifying the local law enforcement agency, Tennessee Tech will cooperate
           in every respect with the investigation conducted by the law enforcement agency.
           T.C.A. § 49-7-129.

       b. If the victim does not consent to the reporting, Tennessee Tech's chief security
           officer or chief law enforcement officer shall not report the offense to the local
           law enforcement agency. T.C.A. § 49-7-2207; Public Acts 2005, Chapter 305.

       F. Reports that are not considered "notice"

       1. Public awareness events such as "Take Back the Night," the Clothesline Project,
          candlelight vigils, protests, "survivor speak outs" or other forums, including
          social media and class discussions, in which students disclose incidents of sexual


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            misconduct are not considered notice to Tennessee Tech of sexual misconduct for
            purposes of triggering its obligation to investigate any particular incident(s).

        2. Such events may, however, inform the need for campus-wide education and
            prevention efforts, and Tennessee Tech will provide information about students'
            Title IX rights at these events or during the forum.

        G. How Tennessee Tech will weigh a request for confidentiality

        1. If a complainant discloses an incident to a responsible employee but wishes to
           maintain confidentiality or requests that no investigation into a particular incident
           be conducted or disciplinary action taken, Tennessee Tech will weigh that request
           against the its obligation to provide a safe, non-discriminatory environment for all
           students, including the complainant.

        2. If Tennessee Tech honors the request for confidentiality, the complainant should
           understand that Tennessee Tech's ability to meaningfully investigate the incident
           and pursue disciplinary action against the alleged perpetrator(s) may be limited.

        3. In some cases, Tennessee Tech may not be able to honor a complainant's request
           in order to provide a safe, non-discriminatory environment for all students.

        4. Tennessee Tech's Title IX Coordinator will evaluate requests for confidentiality
           once a responsible. employee is on notice of alleged sexual-misconduct.

        S. When weighing a complainant's request for confidentiality or that no
           investigation or discipline be pursued, the Title IX Coordinator will consider a
           range of factors, including the increased risk that the alleged perpetrator will
           commit additional acts of sexual or other misconduct, such as:

        a. Whether there have been other sexual misconduct complaints about the same
           alleged perpetrator;

        b. Whether the alleged perpetrator has a history of arrests or records from a prior
           school indicating a history of misconduct;

        c. Whether the alleged perpetrator threatened further sexual misconduct or other
           misconduct against the complainant or others;

        d. Whether the sexual misconduct was committed by multiple perpetrators;

        e. Whether the sexual misconduct was perpetrated with a weapon;

        f. Whether the victim is a minor;

        g. Whether Tennessee Tech possesses other means to obtain relevant evidence of the


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             sexual misconduct (e.g., security cameras or personnel, physical evidence); or

         It. Whether the complainant's report reveals a pattern of perpetration (e.g., via illicit
             use of drugs or alcohol) at a given location or by a particular group.

            The presence of one or more of these factors could lead Tennessee Tech to
            investigate and, if appropriate, pursue disciplinary actions.

         7. If none of these factors is present, Tennessee Tech will likely respect the
            complainant's request for confidentiality.

         8. If Tennessee Tech determines that it cannot maintain a complainant's
            confidentiality, Tennessee Tech will inform the complainant prior to starting an
            investigation and will, to the extent possible, only share information with people
            responsible for handling Tennessee Tech's response.

        9. Tennessee Tech will not require a complainant to participate in any investigation
           or disciplinary proceeding.

 VIII. Tennessee Tech's Response to a Report of Sexual Misconduct

        A. Tennessee Tech will take ongoing steps to protect the complainant from
           retaliation or harm and work with the complainant to create a safety plan.
           Retaliation;_ as defined by applicable law, against the complainant, whether by
           students or Tennessee Tech employees, will not be tolerated.

        B. After appropriate consideration of confidentiality requirements and to the extent
           reasonable, Tennessee 'Lech will:

            Assist the complainant in accessing other available victim advocacy, academic
            support, counseling, disability, health or mental health services, and legal
            assistance both on and off campus (see Section XIV below for more information
            on interim measures);

        2. Provide other security and support, which could include issuing a no-contact
           order, helping arrange a change of living or working arrangements or course
           schedules (including for the alleged perpetrator pending the outcome of an
           investigation) or adjustments for assignments or tests; and

        3. Inform the complainant of the right to report a crime to campus or local law
           enforcement and provide assistance if the complainant wishes to do so.

        C. While respecting the limits of confidentiality, the Title IX Coordinator will review
           reports to determine if broader remedial action is required; such broader remedial
           action may include but is not limited to increased monitoring, supervision or
           security at locations where the reported sexual misconduct occurred, increased


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             education and prevention efforts, including to targeted population groups,
             conducting climate assessments/victimization surveys, and/or revisiting its
             policies and practices.

   IX.   Role of Title IX Coordinator

         A. Tennessee Tech's Title IX Coordinator is responsible for overseeing all Title IX
            incidents reported to Tennessee Tech and for the implementation of this policy,
            including but not limited to identifying and addressing any systemic gender-based
            harassment, discrimination, and sexual misconduct. The Title IX Coordinator's
            responsibilities include, but are not limited to:

         1. Investigation or oversight of investigations of allegations related to Title IX;

         2. Coordination and oversight of educational programs including mandatory training
            for new students and employees and awareness campaigns for current students
            and employees;

         3. Coordination with University Police and local law enforcement on matters related
            to allegations related to sexual misconduct;

         4. Coordination and oversight of training for law enforcement, responsible
            employees, victim advocates, and anyone else involved in responding to,
            investigating, or adjudicating sexual misconduct;

         5. Coordination and oversight of training for employees likely to witness or receive
            reports of sexual misconduct, including professors, school law enforcement,
            school administrators, school counselors, general counsels, athletic coaches,
            health personnel and resident advisors;

         6. Coordination and oversight of training for responsible employees related to
            appropriately responding to reports of sexual misconduct and the obligation to
            report sexual misconduct to the Title IX Coordinator or other designated official;

         7. Coordination and oversight of training for professional counselors and individuals
            covered by Section VII.C. relating to the extent to which they may keep a report
            confidential;

         8. Coordination and oversight of annual training for investigators, decision makers,
            hearing officers and hearing committee members on the issues related to sexual
            misconduct and on how to conduct an investigation and hearing process that
            protects the safety of complainants and promotes accountability; and

         9. Attending appropriate training annually on topics related to responding to or
            investigating allegations of sexual misconduct.



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         B. The Title IX Coordinator, in consultation with the appropriate Cabinet members,
            may designate deputies and investigators ("designees") to assist in carrying out
            any of the responsibilities related to implementing this policy.

        C. The Title IX Coordinator shall report at the beginning of each new school year to
           TBR's Office of General Counsel the name of and contact information for
           Tennessee Tech's Title IX Coordinator.

   X.   Investigation Requirements and Procedures

        A. All proceedings will include a prompt, fair, and impartial investigation and result.
           Tennessee Tech will provide the respondent and complainant equitable rights
           during the investigative process.

        B. All complaints of sexual misconduct shall be presented to the Title IX
           Coordinator or designee for investigation and appropriate disposition.

        C. Mediation between the complainant and respondent will never be considered an
           appropriate resolution in sexual misconduct cases.

        D. Initiating an investigation

        1. Anyone wishing to file a complaint for a violation of Title IX may contact the
         _ Title IX Coordinator or any responsible employee. During business hours, the
           Title IX Coordinator can be reached at Foundation Hall, Room 100, 931-372-
           3112; after business hours, a complainant should call 91 1 and ask the University
           Police to contact the Title IX Coordinator. Alternatively, a person may file a
           complaint with the U.S. Department of Education, {_f icc Ic)r Civil Kichts (800-
           421-3481).

        2. Absent good cause, within one (I) business day of receipt of a report of sexual
           misconduct from a complainant or responsible employee, the Title IX Coordinator
           or designee shall attempt to get a written statement from the complainant that
           includes information related to the circumstances giving rise to the complaint, the
           dates of the alleged occurrences, and names of witnesses, if any. The complainant
           may fill out a complaint form or submit a detailed written report of the alleged
           incident.

        3. When the complainant chooses not to provide or sign a written complaint, the
           Title IX Coordinator or designee will investigate to the extent possible and take
           appropriate action.

        4. Both before and during the pendency of the investigations, the Title IX
           Coordinator shall consider what, if any, interim measures may be necessary. See
           Section XIV below for more information related to interim measures.



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            Complaints made anonymously or by a third party will be investigated to the
            extent possible. Although Tennessee Tech encourages victims to talk to someone,
            Tennessee Tech provides an online system for anonymous reporting by students.
            The system will notify the user before s/he enters information that entering
            personally identifying information may serve as notice to Tennessee Tech for the
            purpose of triggering an investigation. It may be found here.

        6. After consultation with the University Counsel, if the Title IX Coordinator
           determines that the complaint contains an allegation of sexual misconduct, the
           Title IX Coordinator shall follow the procedures set forth in this policy to
           investigate and adjudicate the complaint.

        7. The Title IX Coordinator may appoint a qualified, sufficiently trained person to
           investigate the allegations made in the complaint.

        S. Only one person shall be identified as the investigator, though the investigator
            may have a second person present during interviews to take notes.

        9. Investigations shall be conducted by officials who do not have a conflict of
           interest or bias for or against the complainant or respondent.

        10. If the complainant or respondent is a student and believes the investigator(s) has a
           conflict of interest, that party must submit a written explanation of the reason for
           that belief to the Vice President for Student Affairs. The explanation must be
           submitted within three (3) business days, absent good cause, of the time when the
            party knew or should have known the facts that would give rise to the alleged
           conflict of interest. The Vice President for Student Affairs will determine if the
            facts warrant the appointment of a different investigator and respond to the party
            in writing within three (3) business days, absent good cause. The decision of the
            Vice President for Student Affairs shall be final.

        11. If the complainant or respondent is an employee and believes the investigator(s)
            has a conflict of interest, that party must submit a written explanation of the
            reason for that belief to the Vice President for Planning and Finance. The
            explanation must be submitted within three (3) business days, absent good cause,
            of the time when the party knew or should have known the facts that would give
            rise to the alleged conflict of interest. The Vice President for Planning and
            Finance will determine if the facts warrant the appointment of a different
            investigator and respond to the party in writing within three (3) business days,
            absent good cause. The decision of the Vice President for Planning and Finance
           shall be final.

        E. What the investigation should and should not entail

        1. Once the investigator receives the complaint, the investigator shall notify the
           victim in writing of his/her rights and request a meeting.


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        2. The investigator shall also notify the respondent in writing of the complaint and
           his/her rights and request a meeting with the respondent.

        3. The investigator shall notify the complainant, respondent and all individuals
           interviewed during the investigation that retaliation, as defined by applicable law,
           is strictly prohibited and may be grounds for disciplinary action, In addition, the
           investigator shall advise all interviewees that they should contact the investigator
           immediately if they believe they are being retaliated against.

        4. The investigation shall include interviews with both the complainant and
           respondent, unless either declines an in-person interview.

        S. The complainant and respondent shall be provided with the same opportunities to
            have others present during any interview, including the opportunity to be
            accompanied by the advisor of their choice to any related meeting or proceeding.

        6. Tennessee Tech will not limit the choice of advisor for either the complainant or
           respondent.

        7. The investigation shall include interviews with relevant witnesses named by the
           complainant and respondent or any other potential, relevant witness made known
           to the investigator.

        S. The investigation shall include the gathering and reviewing of any documentary,
           electronic, physical, or other type of relevant evidence.

        9. The investigator is expected to request a list of relevant witnesses and evidence
           from complainant and respondent and take such into consideration.

        10. The investigator shall not consider any evidence about the complainant's prior
            sexual conduct with anyone other than the alleged perpetrator. Evidence of a
            prior consensual dating or sexual relationship between the parties by itself does
            not imply consent or preclude a finding of sexual misconduct.

  XI.   Outcome of Investigation and Determination of Appropriate Action

        A. Upon completion of the investigation, the investigator shall prepare a written
           report that includes the allegations made by the complainant, the response of the
           respondent, corroborating or non-corroborating statements of the witnesses,
           review of other evidence obtained, conclusions that may be drawn from the
           evidence gathered, and recommendations about the disposition of the matter.




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         B. It is the responsibility of the investigator to weigh the credibility of all individuals
            interviewed and to determine the weight to be given to information received
            during the course of the investigation.

         C. Depending on whether the complainant is a student or involves employees, the
            report shall be delivered to the Vice President for Student. Affairs or the Vice
            President for Planning and Finance.

         D. After review of the report and unless the aforementioned Vice President believes
            additional fact finding is necessary, that Vice President shall make a
            determination based on a preponderance of the evidence presented as to whether
            or not a violation of this policy occurred and the appropriate resolution.

         E. The determination made by the said Vice President shall be communicated in
            writing simultaneously to the complainant and respondent, along with notice to
            the parties of their right to request an institutional hearing on the determination
            that a policy violation did or did not occur.

  XII.   Timeframe for Conducting the Investigation

         A. Every reasonable effort shall be made to conclude the investigation and resolve
            the complaint within sixty (60) calendar days following receipt of the complaint.
            Within this sixty (60) day tinieframe, absent good cause, it is expected that the
            investigator ; will conclude the investigation, that the investigator will present ar.
            report to the Vice President for Student Affairs (if the complainant and respondent
            are students) or the Vice President for Planning and Finance (if the complaint
            involves employees). The investigator will notify the patties in writing of the Vice
            President's determination.

         B. If the investigator or Vice President determines that additional time is needed,
            both parties shall be notified in writing of the delay, the anticipated date that the
            investigation will be concluded, and the reasons for such delay.

         C. If either party determines that additional time is needed, that party shall request
            such in writing to the investigator if the Vice President has not yet made a
            determination as described in Section XI.D. The written request for additional
            time shall include the reasons for the requested delay and the number of
            additional days needed.

         D. The investigator shall make every reasonable effort to respond to the request for
            additional time within two (2) business days following receipt of the request and
            shall notify both parties in writing as to whether or not the request is granted.




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 XIII.   Institutional Hearing

         A. Either party may request an institutional hearing on the determination that a
            policy violation did or did not occur by providing written notice of the request to
            the investigator within ten (10) business days of receipt of the aforementioned
            Vice President's decision.

         B. If a request is not received within ten (10) days, the Vice President's
            determination is final.

         C. The hearing may be held before either a hearing officer or hearing committee.
            The President shall determine whether to proceed with a hearing officer or
            hearing committee and shall appoint individuals to serve in those capacities.

         D. If the complainant or respondent is a student and believes the hearing officer or
            the hearing committee member(s) has a conflict of interest, that party must submit
            a written explanation of the reason for that belief to the Vice President for Student
            Affairs. The explanation must be submitted within three (3) business days, absent
            good cause, of the time when the party knew or should have known the facts that
            would give rise to the alleged conflict of interest. The Vice President for Student
            Affairs will determine if the facts warrant the appointment of a different hearing
            officer or committee member and respond to the party in writing within three (3)
            business days, absent good cause. The decision of the Vice President for Student
            Affairs shall be final.

         E. If the complainant or respondent is an employee and believes the hearing officer
            or the hearing committee member(s) has a conflict of interest, that party must
            submit a written explanation of the reason for that belief to the Vice President for
            Planning and Finance. The explanation must be submitted within three (3)
            business days, absent good cause, of the time when the party knew or should have
            known the facts that would give rise to the alleged conflict of interest. The Vice
            President for Planning and Finance will determine if the facts warrant the
            appointment of a different hearing officer or committee member and respond to
            the party in writing within three (3) business days, absent good cause. The
            decision of the Vice President for Planning and Finance shall be final.

         F. If such a hearing is requested, every reasonable effort shall be made to conclude
            the hearing and resolve the appeal, including any appeal to the President, within
            thirty (30) days following Tennessee Tech's receipt of the party's request for a
            hearing.

         G. The parties to the hearing may not engage in formal discovery.

         H. Each party is entitled to have an advisor of choice available; however, the advisor
            may not participate in the proceeding other than to render advice to the party.



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         I. Tennessee Tech will not limit the choice of advisor for either the complainant or
            respondent.

         J. The complainant and respondent shall be timely notified of all meetings relevant
            to the proceeding and allowed to attend all hearing proceedings.

        K. The hearing officer or chair of the hearing committee shall control the procedures
           of the hearing with due consideration given to the parties' requests related to
           procedures such as, but not limited to, limitations on cross-examinations, recesses
           so the parties may consult with their advisors, and scheduling of hearings.

        L. The hearing officer or hearing committee shall use a preponderance of the
           evidence standard when reaching a decision.

        M. Absent good cause, within five (5) business days of the close of evidence, the
           hearing officer or committee shall issue a written determination as to whether or
           not a violation of this policy occurred and the justification for this decision.

        N. Each party shall be simultaneously notified of the hearing officer or committee's
           decision in writing, which shall include notice of their rights to appeal the hearing
           officer's or committee's determination to the President.

 XIV.   Appeal of Hearing Decision

        A. If either party chooses to appeal the hearing officer's/committee's decision, the
           party shall notify the investigator in writing of the decision to appeal within five
           (5) business days of receipt of the hearing officer's/committee's determination.

        B. If a written request for appeal is not received within five (5) days, the decision of
           the hearing officer/committee is final.

        C. The appealin+r party(ies) must explain why he or she believes the factual
           information was incomplete, the analysis of the facts was incorrect, and/or the
           appropriate legal standard was not applied, and how this would change the
           determination in the case.

        D. The President will issue a written response to the appeal as promptly as possible.
           This decision will constitute Tennessee Tech's final decision.

  XV.   Effect of a Finding of a Violation of this Policy

        A. If a final decision has been made that a policy violation occurred, the respondent
           shall be referred to the appropriate personnel for a determination of discipline.

        B. The appropriate personnel will be,determined by the status of the respondent. For
           example, if the respondent is a student, the matter may be referred to the student


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           conduct officer. If the respondent is an employee, the matter may be referred to
           the Human Resources Department.

        C. If the respondent is a student, Tennessee Tech will follow the procedures for
            disciplining students as described in Tennessee Tech l'olic\' 302.

        D. If the respondent is an employee, Tennessee Tech will follow the procedures
            related to disciplining employees as described in applicable employee policies.

        E. Notwithstanding any policy to the contrary, the following additional requirements
           apply to disciplinary actions related to violations of this policy:

       1. The complainant shall receive sufficient notice of and be allowed to attend any
          meeting or hearing during the disciplinary process;

       2. The complainant shall be allowed to have an advisor of her/his choice attend any
          meeting or hearing;

       3. The complainant shall be allowed to testify at any hearing during the disciplinary
          process, even if neither party intends to call the complainant as a witness during
          the case-in-chief;

       4. The complainant shall be allowed access, consistent with the requirements of the
          Family Educational Rights and Privacy Act (FERPA), to any evidence presented
          during any disciplinary meeting or hearing;

       5. The Title IX Coordinator or designee shall be appointed as the complainant's
          contact person for any questions or assistance during the disciplinary process; and

       6. The complainant shall receive written notice, consistent with FERPA, of the
          outcome of the disciplinary process.

       F. If a final decision has been trade that a policy violation occurred, the Title IX
           Coordinator or designee shall determine any remedies needed to address the
           campus-wide environment, taking into consideration the impact of an incident of
           sexual misconduct on the campus as a whole and on specific groups or areas on
           campus. For example, the Title IX Coordinator or designee may determine that
           specific training is needed for a student group whose members have been accused
           of sexual misconduct.

XVL    Tennessee Tech May Take Interim Measures

       A. In situations that require immediate action because of safety or other concerns,
           Tennessee Tech will take any reasonable administrative action that is appropriate.
           Examples of such interim actions include; but are not limited to:



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        1. Providing an escort to ensure that the complainant can move safely between
           classes and activities;

        2. Ensuring that the complainant and respondent do not attend the same classes;

        3. Moving the complainant or respondent to a different residence hall;

        4. Providing counseling services;

        5. Providing or assisting in providing medical services;

        6. Providing academic support services, such as tutoring; and

        7. Arranging for the complainant to re-take a course or withdraw from a class
           without penalty, including ensuring that any changes do not adversely affect the
           complainant's academic record.

        B. These remedies may be applied to one, both, or multiple patties involved.

        C. Student respondents may be placed on interim suspension under the appropriate
           circumstances pending the outcome of the investigation. Tennessee Tech will
           follow Tennes5cc `I- CCh 1'()licN, U-
                                               ) before placing a student respondent on interim
           suspension.

        D. Etnployee respondents may be, consistent with Human Resource policies, placed
           on administrative leave pending the outcome of the matter.

 XVIL Education and Prevention Programs

        A. Tennessee Tech engages in comprehensive educational programming to prevent
           sexual misconduct. Educational programming consists of primary prevention and
           awareness programs for all incoming students and new employees and ongoing
           awareness and prevention campaigns for students and faculty that:

           Identifies domestic violence, dating violence, sexual assault and stalking as
           prohibited conduct;

        2. Defines what behavior constitutes domestic violence, dating violence, sexual
            assault and stalking;

           Defines what behavior and actions constitute consent to sexual activity in the
           State of Tennessee;

        4. Provides safe and positive options for bystander intervention that may be carried
            out by an individual to prevent harm or intervene when there is a risk of domestic
            violence, dating violence, sexual assault and stalking against a person other than


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             the bystander;

         5. Provides information on risk reduction so that students and employees may
            recognize warning signs of abusive behavior and how to avoid potential attacks;
             and

         6. Provides an overview of information contained in the Annual Security Report in
            compliance with the Clery Act.

         B. A list of programs can be found in the Annual Securitm..12cport:

XVIII.   Assistance for Victims of Sexual Misconduct : Rights and Options

         A. Regardless of whether a victim elects to pursue a criminal complaint, Tennessee
            Tech will assist victims of sexual misconduct and will provide each victim and
            accused with a written explanation of her/liis rights as a member of Tennessee
             Tech.

         B. Additionally, in the Tennessee court system, a victim of domestic violence, dating
            violence, sexual assault and stalking has the following rights: the right to confer
            with the prosecution, right to be free from intimidation, harassment and abuse
            throughout the criminal justice system, the right to be present at all proceedings
            where the defendant has the right to be present, the right to be heard, when
            relevant, at allcritical stages of the criminal justice process as defined by-the
            General Assembly, the right to be informe&of all proceedings, and of the release,
            transfer or escape of the accused or convicted person, the right to a speedy trial or
            disposition and a prompt and final conclusion of the case after the conviction or
            sentence, the right to restitution from the offender and the right to be informed of
            each of the rights established for victims. Information related to these rights may
            be found here.

         C. Tennessee Tech complies with Tennessee law in recognizing orders of protection.
            Any person who obtains an order of protection from Tennessee or any state
            should provide a copy to University Police and the Office of the Title IX
            Coordinator. That person may then meet with University Police to develop a
            Safety Action Plan, which is a plan for University Police and the person to reduce
            risk of harm while on campus or coming and going from campus. This plan may
            include , but in not limited to, escorts, special parking arrangements, providing a
            temporary cellphone with 911 call capability only, changing classroom location,
            allowing a student to complete assignments from home, etc.

         D. Protection from abuse orders may be found here. Additional information related
            to such orders may be found here.

         E. Survivors may also contact Genesis House (1-800-707-5197 or 931-526-5197;
            ~www.4~encsi4h~_~usci~rc~c~1m). Genesis House advocates frequently assist with


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              petitions for protective orders as well as answer questions regarding protective
              orders and terms of conditional release (i.e. bond conditions) if there happens to
              be an accompanying criminal charge such as domestic assault or rape.

           F. Tennessee Tech does not publish the name of crime victims nor maintain
              identifiable information regarding victims in the University Police's Daily Crime
              Log or online.

           G. Victims may request that directory information on file be removed from public
              sources by contacting the Office of the Registrar. The Office of the Registrar may
              be contacted at the following: rttl)I: Rir tpicch_odti; (93 1) 372-3317 or (800) 268-
              0242 (telephone); or facsimile (931) 372-61 11.

  XIX.     Resources for Victims of Sexual Misconduct

The resources listed below are not exhaustive or limited to victims who wish to make an official
report or participate in an institutional hearing; police investigation or criminal prosecution.
However, in cases where a victim wishes to maintain complete confidentiality, the victim should
review carefully Section VII above related to the limits on Tennessee Tech's ability to maintain
confidentiality.

           A. On campus resources

TTU Counseling           Business hours (Monday -                  Business hours (Monday —
Center                   Friday, 8:00 am : 4:30 pm): Roaden        Friday, 8:00 am - 4:30 pm):
                         University Center, Room 307               931-372-3331

                         AFTER business hours:                      AFTER business hours:
                         Option #1: Call 911 and ask TTU            Option #I: Call 911 and ask
                         Police to contact counselor on call.       TTU Police to contact
                         Option #2: Go to nearest hospital          counselor on call.
                         ER.                                        Option 42: Go to nearest
                                                                    hospital ER.

                                                                    tntech.edu/counsel
TTU Campus Health        Robert & Gloria Bell Hall, Room 100        Business hours (Monday —
Services                 (enter from Mahler Avenue)                 Friday, 8:00 am - 5 pm): 931-
                                                                    372-3320

                                                                    AFTER business hours: Call
                                                                    911 and ask TTU Police to
                                                                    contact director or designee
                                                                    on call
                                                                    tn tech. edulhealthservices
University Police        Foundation Hall, Room 100                  Emergency: 911
(o en 24 hours year                                                 Non-emergency: 931-372-


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 round)                                                         3234

                                                                https://Nvww.tntech.edu/studen
                                                                taffairs/police/
TTU Title IX           Currently housed at University Police,   Business hours (Monday —
Coordinator (for       Foundation Hall, Suite 100               Friday, 8:00 am — 4:30 pm):
students)                                                       931-372-3112

                                                                AFTER business hours: Call
                                                                911 and ask TTU Police to
                                                                contact staff on call,

                                                                MHall(i~,tntech.edu
TTU Title IX Officer   Derryberr_y Hall, Room 146               Business hours (Monday —
(for employees)                                                  Friday, 1 am — 4:30 pm): 931-
Associate Vice                                                  372-3034
President - I-luman                                             C_-L_ltiitY { tnl«Ch.t•du
Resources
                                                                AFTER business hours: Call
                                                                911 and ask TTU Police to
                                                                contact staff on call.
TTU Dean of            Roaden University Center, Room 339       Business hours (Monday —
Students/ Conduct                                               Friday, 8:00 am — 4:30 pm;
Officer                                                         closed for. lunch 12-1 pm
                                                                931-372-3237

                                                                AFTER business hours: Call
                                                                911 and ask TTU Police to
                                                                notify dean or designee of
                                                                emergency.

                                                                tntech.edu/deanofstudents
Online Student         NOTE: Student victims may submit         I~"t1~~5lltivw~~s;tnic~h.r.duisititien
Complaint Form (RE:    information and a request for help at    taffairs/deanofstudents/stucom
Dean of Students       any hour and on any day. If desired      ~~1;iihtfsiutlei~~c ~~mhlaintl-orm
Office)                student may submit anonymously.
                       This site is typically checked by        (NOTE: If you need
                       authorized personnel during regular      immediate help, call 911
                       business hours. However, if you need     instead.)
                       immediate help, call 911.
TTU Disability         TTU, Roaden University Center, Rm.       Business hours (Monday —
Services               112                                      Friday, 8:00 am - 4 pm;
                                                                closed for lunch 12-1 pin):
                                                                931-372-6119 or 931-372-
                                                                6378



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                                                         AFTER business hours: Call
                                                         911 and ask University Police
                                                         to contact staff on call.

                                                         httL)s://www.tntecti.edulstuden
                                                         taffy i rs/disability/

             B. In the Cookeville area

Cookeville Police                                        911 or 931-526-2300

Putnam County                                            911 or 931-528-8484
Sheriff                                                  1~w~1~utn~tnicit kill t 9n.v. '1 .
                                                          cict>~irt_liicntti~ts~slic~ri ff
Cookeville Regional      142 West Fifth Street           931-528-2541
Hospital                                                 www.crmche i1th.o
Cookeville                                               91 1 or 931-528-1555
Ambulance Service                                        w vw. )utnamems,or
Genesis House            24-hour Crisis Line             1-800-707-5197 or
                                                         931-526-5197
                         310 East Broad Street Suite A   genes ishouseinc.com
(for Protective          421 East Spring Street          Court Clerk: 931-526-2105
Orders)
Court Clerk's office;"                                   Genesis House: 1-800-707--
Justice Center                                           5197 or 931-526-5197
                                                         (NOTE: Genesis House
and/or                                                   advocates frequently assist
                                                         with petitions for protective
Genesis House                                            orders as well as answer
                                                         questions regarding protective
                                                         orders and terms of
                                                         conditional release (i.e. bond
                                                         conditions) if there happens to
                                                         be an accompanying criminal
                                                         charge such as domestic
                                                         assault or rape.)
(second source for                                       Protection from abuse orders
Protective Orders)                                       may be available through
                                                         h ttp : //wtir,~v. t n (, o u its . go v/ Dro gr .
See website                                              ants/sell` help_
information for                                          cemerll rms/ordet.- I)rotcc-t'.i.on-
Tennessee State                                          forms, and additional
Courts and TCEDSV                                        information related to such
(Tennessee Coalition                                     orders may be found at
to End Domestic and                                      I1tip:,'ltnctaalirio~y.~irgfrsixnce.
Sexual Violence)                                         s/li•.~,al -resc~utces.hUul.


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Putnam County                  421 East Spring Street
Justice Center

                C. On-line resources:

® Gentsi5 House (assists both female and male as well as heterosexual and LGBTQ survivors
   of sexual assault, dating violence, domestic violence, and stalking)
® Local l.c{a,rl \id ")ocietv, where survivors can consult with an attorney
   Sex, iol Assault Center: C ounwlinrt and L:   ation.
o `l'tnnesscc Coalition to F.nd Don-restic tk Sexual Violence
® POr !_ C:;BTO 'Survivors and support MlI
® Education reaardingr intimate partner sexual assault
® \Vcbsite- for male survivors of rape and sexual abuse
® R~jpe. Abuse and Incest National Network
® Jane Doe Inc.: The Massachusetts Coalition Against SCXL1,d Assault ,iud 1)(MICSOC ViOlenee
      ('.S. Oep,11-1_111ent -)f.Iustice
®     U.S.-De. kartmew of Education. Office for Civil Ri-hts

     XX.       Retaliation

Tennessee Tech, its officers, employees, or agents are strictly prohibited from retaliating,
intimidating, threatening, coercing, or otherwise discriminating against any individual for
exercising their rights or responsibilities under any provision of this policy. Retaliation, as
defined by applicable law, will result in disciplinary measures; up to and including-termination-or
expulsion.

    XXI.       Interpretation

The Title IX Coordinator or his/her designee has the final authority to interpret the terms of this
policy.

    XXII.      Citation of Authority for Policy

Title IX of the Education Amendments of 1972, Section 485(0 of the HEA, as amended by
Section 304 of the Violence Against Women Reauthorization Act of 2013; 34 CFR § 668.41, §
668.46, and Appendix A to Subpart D of Part 668.


Approved by:

            Administrative Council: 2015-04-08

            University Assembly: 2015-04-22




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                                      TTU Policy 143 (Sexual Misconduct)

                                       INVESTIGATION MEMORANDUM



To:               Marc Burnett, Vice President for Student Affairs

From:             Marlene Hall, Title IX Coordinator


Subject:          Sexual Misconduct Investigation


Date:             January 26, 2017




GENERAL DESCRIPTION

On September 30, 2015, the TTU Police informed me that they received formal notification that the Putnam County
General Sessions Court approved an ex parte, or temporary, order of protection (OOP) filed by Complainant against
Respondent. Both parties were identified as TTU students. The OOP was based upon Complainant's allegation that
Respondent had sexually assaulted her on August 26 at her off-campus residence.


That same day (September 30), 1 sent Complainant an informational e-mail offering to meet with her. On October 5,
we met at my office, where I explained her options and resources gn and off campus, including the option to pursue
an administrative complaint. Complainant decided to first exhaust the criminal justice option, which was already
being handled by local law enforcement. Per protocol, I informed Complainant that if she later wished to file an
administrative complaint, she could do so.


I also notified key offices in case Complainant decided to later pursue an administrative complaint. I was informed
that they concurred that complaints regarding off-campus incidents could be pursued administratively. On
November 11, Complainant expressed dissatisfaction with the criminal justice option. She also indicated interest in
pursuing an administrative complaint but had questions. Over the next several days, I answered her questions,
clarified information, helped acquire academic assistance, and requested copies of documents related to her case.
Dr. Robert Owens was assigned as the secondary investigator, and we three met at Dr. Owens' office on December



After Complainant submitted her statement, she informed me during winter break that she heard Respondent had
withdrawn from TTU and had moved to another state. A subsequent Banner check indicated that Respondent was
not enrolled for the next semester.


On February 6, 2016, Complainant stated she saw Respondent walking on campus. This time Banner showed
Respondent as enrolled. From February 24 through March 1, 1 sent Respondent three e-mails, which included a
letter of notice regarding the allegation and suggestions of dates and times to meet.


On March 2, a local attorney notified me that she was representing Respondent. On March 30, Dr. Owens and I
interviewed Respondent in the presence of Respondent's attorney and University Counsel.




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After consulting with Complainant's attorney, on May 17 Dr. Owens and I interviewed Complainant with questions
stemming from our interview with Respondent. Complainant's attorney and University Counsel were also present
via speakerphones.

Dr. Owens and I also interviewed Witness 1 on May 17. Due to the combination of intoxicants brought up during this
investigation, I also conducted research via online and medical consultation.


Respondent and Complainant were given "no contact" orders. Both parties and Witness 1 were instructed on the
anti-retaliation provision in TTU Policy 143. All said they understood. Earlier Complainant noted that although some
mutual acquaintances who attend Complainant's school might hear of the incident from Respondent, the latter
does not frequent her classroom buildings because he is enrolled in an entirely different major, or school.

Complainant and Respondent were advised of resources and options for academic support and counseling.
Complainant had already utilized medical assistance and victim advocacy from local resources.




DETAILED DESCRIPTION OF ALLEGATIONS)

     A. Complainant's Allegation

Complainant alleged that Respondent had engaged in sexual intercourse without obtaining her consent.
Complainant further alleged that she was unable to consent to sexual contact with Respondent due to being
incapacitated as a result of being asleep and of the use of alcohol, marijuana, and possibly prescription drugs


During this investigation, Complainant provided Dr. Owens and me with related details via"interviews, a-written
statement, cell text records, and medical records from her ER visit. The following is based on a combination of these
sources.

Complainant recalled that on Thursday, August 20, she was preparing to move to a new complex when she met
Respondent and Witness 1, who were working on a car in the parking lot, and asked to borrow a screwdriver. The
trio wound up hanging out together at Witness 1's apartment. All three are TTU students. Initially she thought both
lived in the complex, but she later learned that Respondent lived elsewhere.


On that day and the next two, Complainant continued packing and/or the trio watched music videos and smoked.
Respondent's and Witness 1's marijuana. She also brought and drank wine. Contrary to Respondent's and Witness
1's accounts, Complainant said she did not touch Respondent's arm and chest muscles during her visit. When asked
if the subject of Respondent's good looks arose, she recalled Respondent showing her photos in his Snapchat
account, but she added that she does not really know much about Snapchat. Complainant told us she was "not
interested at all, not physically' in Respondent.


She stated that on Tuesday night, August 25, she tried to call Witness 1's cell "a little after midnight" (thus
Wednesday, August 26), but he did not answer. "[A]Imost immediately" after she hung up, Respondent called her
from Witness 1's cell to say that Witness 1 was asleep. He then offered to bring a joint to her new place, so they
could "hang out and smoke". She accepted. Contrary to Respondent's account, Complainant told us that she did
"not recall inviting" Respondent to her new apartment for a drink.


Per her statement, Complainant "had already had several glasses of wine and was pretty drunk before even
speaking to [Respondent] on the phone."



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At 1:01 am, Respondent texted that he had arrived at the parking lot of her complex. For the next 45-60 minutes:
they smoked the joint and watched music videos on the balcony; she drank more wine; and she offered Respondent
a beer. Complainant told us she was unsure if she offered him a second one. When asked if she was persistent in
offering Respondent any beer, she stated she was not insistent as far as serving it to him; she could not recall much
about that except that it would have only been "polite" to offer a "guest" a second beer.

Contrary to. Respondent's account, Complainant stated she did not recall him taking his shirt off while at her
apartment. She told us that she was "100% not" interested in or attracted to Respondent. She added, "I don't and
[have] not ever found [Respondent] physically attractive."

At one point after watching the videos, Complainant informed Respondent she was going to shower, left him in the
kitchen, and went to her bedroom bathroom. She wondered if Respondent may have "mistakenly" been thinking he
was there for sex. To ensure he would not think she was going to sleep with her, she texted him from the bathroom
at 1:59 am to "head home", saying she was going to "relax in the tub" and then "go straight to bed to     ... to pass
out". Respondent then texted twice about briefly staying until he was "good to drive". About 8 minutes later, he
asked via text if she was all right and said he wanted to "make sure that you don't pass out in the bath Lol". Since
she was in the tub, she missed these texts and did not reply.

Complainant stated that when she exited the tub, her intoxication seemed heavier than usual. She attributed this to
taking her nightly prescriptions of Ambien (a sleeping pill) and lorazepam (a type of sedative) either just before or
right after her bath. Later, she wondered if Respondent may have slipped "some sort of drug" into her drink.


Thinking Respondent had left, she donned a towel after her bath and headed toward the kitchen. Seeing he was still
there, she silently headed to her bedroom, changed into pajamas, and then went to the kitchen. He said he "was
too messed up to drive", so she said he could "hang out in the main part of-the apartment [i.e., kitchen, living room]
until he felt better" and instructed him to lock the exit door when he departed.


Complainant recalled feeling "very drunk and high" when she entered and her locked bedroom door. She went
"straight to bed". From there, she texted that he could "sleep here" (i.e., the living room) if he was too tired.
Respondent texted his appreciation and then asked where he should sleep (the living room had no furniture), but
she had fallen asleep and thus did not reply.


When Respondent knocked on her bedroom door, Complainant awoke and opened the door. He verbally asked
where he could sleep. When asked if she recalled what he was wearing at that time, Complainant said she did not
recall how he was dressed; she added that he must have had at least some clothing on, because otherwise a lack of
clothing would have stood out in her mind.


Since she had a "very big king size bed" in which 3 adults could easily sleep, she told him he could sleep on her bed,
instructed him to "get a blanket from the living room" when he asked for a pillow, and "said clearly that [she]
intended to go immediately back to sleep". She then lay down on one side of the bed. A "few minutes later",
Respondent returned with the blanket and lay down on the other side.


Complainant's statement explained, "Although my memories of these last few minutes are fuzzy, I know that he
made an attempt to touch me and I protested, saying explicitly that I didn't want to do anything with him; I only
wanted to sleep. The last memory that I have is of him saying, 'this will help us sleep'."


We asked if she recalled anything that occurred with the remote (for mattress comfort). She said, "I don't think so."
She explained that she knew the remote was there (i.e. by the bed), but she did not recall specifically talking about it
or using it. She said that it would not surprise her if she had said something about the remote because she was


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"really excited" about the bed's features. Complainant thought she had told Witness 1 about the remote when she
and he were together, but she did not recall saying anything about it to Respondent.


Around 6:30 am, she awoke from what she initially thought was a dream in which Respondent "was having sex" with
her. However, she started realizing that "it was more of a memory than a dream". She saw that he was asleep on
the opposite side of the bed from her and noted that she was still dressed in her female boxer shorts, panties, and
short-sleeved T-shirt. Upset and angry, Complainant shouted at Respondent, which awakened him. When she asked
if he had "sex with [her] last night", he answered "yes". Panicking, she asked if he had worn a condom. When he told
her "no", she angrily ordered him to leave her apartment.


Complainant explained to us that she is "too paranoid" about STDs and thus knows she "would demand" that a
condom be used if she had sex with anyone she does not know well. This was consistent with her earlier statement
in which she noted whether a condom was available one night when she was in an intimate situation with a new
companion.


After Respondent left, she cried for a short time. She then brushed her teeth and thought to herself she was not
supposed to do that. She recalled that she should not change her clothes. However, she took off her bedclothes
and, after being unable to find a clean bag, she placed them in "new paper towels", then put the clothes and towels
in a gallon-sized Ziploc bag, and then placed the bag in her purse. She looked up a "rape hotline" on her computer,
called and was asked to call back at 8 am when staff would be available. Still upset, she called back and was
instructed to go to the local ER lot, where a victim advocate would meet and accompany her.


An ER nurse noted in the medical records (see Section D.7.) that Complainant "brought [the] underwear that she
had worn last night in [her] purse". The records also showed that although ER personnel gave the completedsexual
assault kit to the local police detective, her "[b]elongings [were] sent with" Complainant. At a later date,
Complainant filed for an order of protection (see Section D.1-4) per the suggestion of the police sergeant assisting
the detective.


Later on August 26, at 5:17 pm, Respondent texted her, which led to a flurry of text exchanges involving accusations
and denials. See Section D.S. for more details.


The last time Complainant and Respondent crossed paths was later in the evening on August 26. One of her friends
and she went to Witness 1's apartment to pick up a box of liquor bottles that Witness 1 was storing for her.
Respondent was at the apartment, but they did not speak to each other and have not contacted each other since.



    B. Respondent's Response


Respondent was provided opportunities via e-mail and at his interview to provide a written statement. None was
submitted. The following is a summary of Respondent's responses during Dr. Owens' and my interview of him.
University Counsel and Respondent's attorney were present during this interview.


Respondent thought Complainant, Witness 1, and he first met on Sunday, August 23. His description of how and
where they met was similar to Complainant's. However, Respondent recalled they met at about 3 pm, because he
was struck by how Complainant was drinking a glass of red wine during daylight hours and she asked if he wanted
some; he told her he does not drink alcohol. When asked if he noticed any issues with her sobriety that day, he
replied, "What [would] you think if [she was] drinking since 7 am? She talked like a normal person. She was talking."



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Like Complainant, Respondent recalled that the trio's get-together evolved into a long day (3 pm into the night).
However, his memory of that day had some distinct differences. He said it was Complainant, not they, who brought
and offered marijuana to the group; the two men smoked, but he did not recall seeing her smoke. More than once
during the interview, Respondent stated that Complainant, who is a little older, offered alcohol to them although
neither was of legal drinking age. He added that neither of them drinks alcohol. (Later during the interview, he said
that Witness 1 does drink but only once or twice a month.)

He stated that from the first day, Complainant repeatedly touched his arms or upper body. In the living room, as she
talked about how Respondent had a "good body', she touched his chest and upper arm muscles. Other than when
she was touching the aforementioned muscles, the three discussed TTU or engaged in other "normal" chat.

Respondent said that the incident in question occurred a couple nights later (thus the night of August 25/early
morning hours of August 26). He stated that before going to Complainant's apartment: Witness 1 and he had dinner
at 8 or 9 pm (he ate a hot dog); he later drank a Red Bull but did not eat anything else; neither Respondent nor
Witness 1 consumed alcohol or marijuana. Contrary to his previous statement, Respondent told us that Witness 1
does not smoke marijuana and added that he [Respondent] smoked it with Complainant that night but that he has
not smoked it any other time. Respondent told us, "I don't drink alcohol."

That night atVVitness 1's apartment, Respondent played a video game while Witness 1 slept. Per Witness 1's
instructions, Respondent was to answer Witness 1's cell if it rang. When Complainant called, he answered and
informed her that Witness 1 was sleeping. Contrary to Complainant's statement, Respondent told us that he invited
her to come and play videos, but Complainant told him to instead come to her place so they could drink. Witness 1
was unaware that Respondent left. Contrary to what Complainant told us, Respondent stated that he did not take
anything, including alcohol or marijuana, to Complainant's residence.

Respondent estimated that he arrived at Complainant's apartment at midnight or 1 am. As she showed him around
her.-new apartment, they engaged in normal conversation. Neither ate anything at her apartment. She was drinking
and had a beer, with her. Complainant gave Respondent a beer and later tried to encourage, or coerce, him into
drinking a second one. When we asked him further about that, Respondent replied that Complainant told him, "Oh,
you didn't finish this one," and she then "pushed another [beer] toward" him.

He stated that after he had been there for about 1 hour, they went from the living room to the balcony so they
could smoke her marijuana and so he could smoke cigarette (she did not want the indoors to smell like "cigarette
smoke]"). Respondent also estimated he had been there for about 1 hour when they left the balcony and returned
to the living room. He recalled that Complainant said it was hot in there and told him to take his shirt off. When he
took off his shirt, she talked about his arms and his having a perfect body while her hands touched his upper arms
and toward his back. Respondent told us that she was "touching [him] all the time".

He corroborated the fact that Complainant told him she was going to shower and that he could leave. At that point,
his "head was dizzy', so he planned to stay. In the interview, he explained that he had been drinking, so he wanted
to be careful. He also corroborated that when he told her he was not sure he could drive, she said it was okay for
him to stay. She left to shower. He stated that he heard a sound come from the bathroom. Thinking she may have
fallen, he texted. "Are you good[?] I just wanna make sure that you don't pass out in the bath Lol" He could hear the
shower running, but she did not reply.

He estimated that 10-15 minutes elapsed while Complainant was in the bathroom. She then returned to the living
room with only a shirt on and her hair wet. She stood next to his left side but did not touch him. She asked, "Oh, you
still did not leave?" He told her he heard a noise in the bathroom when she was in there, but she did not explain
what the noise was. Respondent observed that she looked okay and that there was no sign of injury. When asked
about her demeanor and/or sobriety, he answered that: she talked normally; she was fully awake; her coordination
seemed to be good; and she looked and sounded the same as she did before she left to shower.


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Respondent corroborated the fact that Complainant said she was going to sleep and that he could leave or stay. He
decided to stay. She gave him a blanket and told him he could sleep in the living room. She went to her bedroom,
leaving him in the living room with no furniture to lie upon.

He estimated 1S minutes elapsed before he went to her bedroom door to obtain a pillow. He knocked on the closed
door. At this point, he was wearing all his clothes, including his shirt, except he had no shoes on. He recalled that
when she opened the bedroom door, she seemed to be of the same demeanor/sobriety she had been when she
was in the living room earlier. She told him she only had one pillow but that he could share it with her. Later when
we asked him about the pillow, he said it was of normal size. He said she smiled when she offered to share the bed.
Respondent went to the living room to retrieve the blanket, made it into a pillow, and returned to her bedroom. He
slept on the left side of the bed, and she slept on the right side.


Respondent described it as "a really big bed". Though they were on opposite sides of the bed, 2 more people could
have fit between them. When we asked him about Complainant taking a sleeping pill, he replied that when he went
to her bedroom, she did not mention she had taken a sleeping pill or any other medication'


He estimated it was approximately 3 am when sexual activity began and that it lasted about 10 minutes. He
described the following. While they were sleeping, Complainant came "all the way" to the left side of his body and
grabbed the remote (for mattress comfort). She explained about the remote. She had her hand on the remote and
slid her hand down his arm and down his chest and torso but did not go any lower. She did this twice. During this,
neither person tried to operate the buttons on the remote. Respondent put the remote back on a table by the bed.
He told us, "I wasn't good because I [had been] drinking and smoking."


He stated that she then touched him by putting her thigh on him. At this point, they "had sex". He felt this was not
an "accident." Later in the interview, Respondent slightly changed his explanation, stating that, Complainant-lay next
to him with her buttocks against him at the time. He stated that she "grabbed my leg while I was behind [her]" and
she was "making sounds". He told us that they "just had the sex" at that point and that Complainant "did everything,
not me".

Respondent told us that he does not like to go or stay "with girls if they do not want [him]." He also said that his
parents did not "raise him to rape girls and come back with shame".

Twice Respondent answered "no" whenever we asked if anyone said anything during portions of the sexual activity.
He also said "no" when asked if, before any sexual activity began, he told Complainant that having sex would help
them to sleep. He said that Complainant was the one who was "acting", explaining she was grabbing him by the rear
of his thigh. Later in the interview, Respondent said that when Complainant put her hand on him, she pulled him
toward her and made "sounds of pleasure" but did not speak. When the sexual activity ended, each went back to
their respective sides of the bed and Respondent fell asleep.


When asked about his state of dress, Respondent stated that during the sexual activity, he took off his pants but
kept his shirt on throughout. He said Complainant had a shirt on when they were initially in bed. During the sexual
activity, he noticed that she had no panties on.


He estimated it was around 6:30 am, when Complainant woke him up; she asked him if they had sex, and he
confirmed they had. When she asked him if he had worn a condom, he told her, "No, you didn't give me a condom."
Complainant said "okay" and went back to sleep. He got up, splashed water on his face, and left her apartment.


Respondent then went straight to his own apartment and to bed. His roommate was not there at the time, so he did
not talk to anyone at home. Nor did he tell anyone after he awoke because Complainant and he did not discuss the



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situation as sexual assault until later that day. Respondent told us that he did not talk to anyone except Witness 1
about this issue.


Regarding their text exchanges later that day, Respondent told us that when he first texted her that he was sorry if
he did something wrong, he was referring to his not having used a condom. He clarified that he was not referring to
rape and stated "I didn't rape".


He also told us that all their discussion concerning rape and the condom issue was in the text records. He pointed
out that the one exception was that morning when Complainant asked him in the bedroom whether he used a
condom.


When investigators asked Respondent if there was anything else he wanted to tell us, he said the following:


          He initially said "no" but immediately changed his mind. After looking at the text records, he pointed out
          the text in which Complainant asked "Did I agree to have sex?" He stated that question/remark "was all
          about [not using] the condom".
          He then stated that Complainant gave him permission to have sex "by grabbing me".
          When he said that Complainant did not touch his genitalia, we asked if she got close to it. He said "yeah"
          and gestured toward his chest and torso.


Respondent last saw Complainant during the evening of August 26, when her friend and she picked up her box of
liquor bottles from Witness 1's apartment. They did not speak then and have not been in contact since.




    C. Witness(s)


          Witness 1:        Respondent's friend whom Complainant briefly dated and befriended -- Witness 1 is
                            Respondent's friend with whom he spent considerable time.

Witness 1 gave a somewhat similar description of when and how Complainant, Respondent, and he met and started
hanging out for a few days at his apartment complex. He also said that he gave Complainant a tour of his apartment
that first day. He stated he could not be sure what exactly the "plain white liquid" was that she was drinking from
her glass when they first met. Later, however, he stated that she brought her own alcoholic beverage to his
apartment as they hung out that day. He stated that neither Respondent nor he drank or offered alcohol that day.

He stated that Respondent and Complainant smoked marijuana at Witness 1's apartment, but he did not recall if it
was that specific day or not.


Witness 1 recalled that on the first day they met, Respondent had his shirt off as he worked on the car. He added
that Respondent often does not wear a shirt. He stated that later, while the trio were in his living room and talking
about working out at the gym, which Respondent does, Complainant scooted closer to Respondent and touched his
arms and chest. Witness 1 recalled this because at the time, he was thinking he should join Respondent and start
working out at the gym.


Witness 1 recalled that on the night Respondent went to Complainant's new apartment, Respondent and he "ate
obviously" and later Witness 1 fell asleep. Earlier Witness 1 told Respondent to answer his cell if it rang, which is
why around midnight Respondent answered Complainant's call on Witness 1's cell. Witness 1 did not know who
invited whom. However, Respondent told Witness 1 that he (Respondent) went to Complainant's place and was
offered a drink. Witness 1 said he was not exactly sure what occurred there.


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When asked if Respondent had smoked anything at Witness 1's place before heading to Complainant's, Witness 1
replied that he was unsure whether it was that month or the next when he (Witness 1) started prohibiting smoking
in his apartment.

When asked if Respondent drinks alcohol, Witness 1 said he was not sure if Respondent drinks or not. He then said
that Respondent is not a big drinker but does drink periodically.


When Witness 1 first heard from Complainant about what had happened, they exchanged several texts (See Section
D.6.). Witness recalled this was at about noon, when he awoke and noted that Respondent was not at his
apartment. He did not know where Respondent had gone.


Text records show the exchanges between Complainant and Witness 1 actually started at 06:50 am. Complainant
and he continued texting throughout the day, including noontime.

He said that Complainant told him that Respondent had come to her residence and had forced sex upon her. He told
us, "She was very unhappy about it."

Witness 1 stated that Complainant "talked and talked and talked" (i.e., texted). She did not phone or use other
means of communication. She texted everything. Witness 1 stated that he told her that he was shocked, saying "Oh,
my god, what happened?" There were several texts coming in from Complainant at once.


Witness 1 recalled he saw and spoke with Respondent 1-2 hours after hearing from Complainant. Witness 1 asked
him about the incident. Witness 1 told us that Respondent told him what happened, but Witness 1 then told us that
he could not recall what he had been told. He did recall that when Respondent spoke with him, he was "shocked".
At the time, Witness 1 thought Respondent was in the right because Respondent told him that Complainant had
given him permission to have sex'with her. Therefore, Witness 1 was also shocked that Complainant had "called
[Respondent] out".

Witness 1 also recalled that Respondent received several texts from Complainant. Respondent told him that he did
not want to have anything to do with her because she "talks" (i.e., texts) a lot.

Witness 1 stated to us that when Complainant sent him (Witness 1) several texts, he understood that Complainant
"was trying to figure out what to do". When she asked him what she should do, Witness 1 told her that he did not
want to get involved between Respondent and her.


Witness estimated between 2 days to 1 week had passed since the incident, when he went to Complainant's
apartment. He did not spend the night. Instead they talked about things "other than the subject [allegation]".
Witness 1 told us that Complainant needed somebody to comfort her at that time, so the two of them just sat down
and chatted.




         Witness 2:        Police sergeant who assisted Comploinont in investigation by local police   of
                           jurisdiction/city -- I contacted Witness 2 by phone and learned she was no longer
                           attached to the police investigation because she had left the department for unrelated
                           reasons. She had provided support for Complainant, including recommending that
                           Complainant file for an OOP (see Section D.1.) and helping her through that process.
                           Witness 2 said that the detective remained assigned to the case.




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    Other witnesses who were not interviewed:

    1.   Local medical personnel involved in Complainant's emergency room exam during the morning of
         Wednesday, 8/26/15 —They documented the procedures taken, their interactions with Complainant,
         and their notifications of local law enforcement in Complainant's medical records. Therefore,
         information from the medical records was used (see Section D.7. below).


    2.   Complainant's out-of-town friend, who stayed overnight with Complainant after the latter's
         emergency room exam



 D. Other Documentary Evidence


    1.   9/30/15 temporary OOP (also known as ex parte OOP) approved by Putnam County General Sessions
         Court Case 42015D208 and with hearing date of 10/13/15


    2.   10/13/15 OOP approved by Putnam County General Sessions Court Case #2015D208 and dated to
         expire after 1 year


    3.   10/23/15 "Motion to Set Aside" document filed by Respondent's attorney and submitted to Putnam
         County General Sessions Court; motion requested that 10/13/15 OOP be set aside and that new
         11/10/15 OOP hearing be scheduled


    4. ,11/24/15 "Agreed Order for Restraining Order Upon Dismissal of Ex Parte Order of Protection on
         January 31, 2016" for Putnam,County General Sessions Court and signed by Respondent's attorney
         and Complainant's former attorney




    S.   8/26/15 cell phone records,of texts between Complainant and Respondent


         a.   See Section A regarding texts before the incident in question.


         b.   August 26, 12:25:25 am - 12:56:17, 8 texts -- Texts indicate that within 31 minutes, Complainant
              alternately gave to Respondent her correct address, then confused the numerical digits less than
              10 minutes later, and corrected the numerical when Respondent indicated that he went to the
              wrong place due to having an incorrect address.


         c.   August 26, 12:26:22 am, 1 text — Complainant asked Respondent to bring a corkscrew


         d.   Regarding texts after the incident on August 26, Respondent initiated the exchange at 5:17:24 pm,
              when he thanked Complainant for "a great night" and, in the same sentence, said he was "sorry if
              [he] did something wrong". Complainant replied that he was wrong to have "sex with [her]
              without [her] permission". Texts were exchanged for approximately 2% hours. Complainant
              repeatedly accused Respondent of not getting her consent and of raping her while she was asleep.
              Respondent repeatedly denied her accusations, explaining that both of them were at fault.
              Examples of Respondent's denials included:



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                            i.      "I was high and drunk in the same time[.] I'm really sorry[,] I didn't mean to do it."
                           ii.      "You know 1 thought that would help us sleep too and if you are worried about that I
                                    didn't wear a condom[,[ don't worry cause I know that I am clean and I know my limits
                                    in sex and how to do it. Again I'm sorry about everything."
                          iii.      "Listen I didn't rape and please don't say this word again and you were trying to have
                                    sex with me[.] [F]rom the beginning you were touching me and made me lust."


              e.    August 26, 6:17:37 pm — 6:36:26 pm, 7 texts -- In response to Respondent's text listed in Section
                    D.S.b.iii, Complainant and Respondent had a last exchange of accusations and denials:


                    C:           "Oh you're right. That was totally my fault. If I made you feel like you wanted sex then
                                 you had every right to take it."
                    R:           "So it not only my fault" "Why you want to make it like it was only my fault?"
                   C:            "You just can't do that" "I told you to leave and you didn't. I locked my bedroom door
                                 and you came knocking on it. I let you in and [you] waited until I fell asleep and fucked
                                 me. Without a condom" "That means it's your fault"
                   R:            "No it's not my fault"



              f.   On August 26, 6:37:39 pm, Complainant and Respondent told the other to leave him/her alone.
                   Respondent additionally told Complainant not to speak to him. At 7:44:29 pm, Respondent asked
                   Complainant if she wanted Witness 1 or him to "bring [her] stuff to [her] apt". The "stuff' he was
                   referring to was the box of liquor bottles Witness 1 was storing for Complainant. She never
                   replied, and no further texts occurred.
b:r




         6.   8/25/15 — 9/9/15 cell phone records of texts between Complainant and Witness 1


              a.   19 texts between 10:04:36 pm and 11:23:58 pm -- Confusion ensued when Complainant
                   accidentally texted Witness 1 while trying to communicate with another of her friends.


              b.   Discovering her mistake, Complainant tried at 11:45:14 pm to invite Witness 1 to her new home,
                   but he was no longer responding due to (per his texts) being "high" or "asleep".


              c.   August 26 excerpts from texts in which Complainant described to Witness 1 key elements or
                   points of what happened between Respondent and her:


                   i.            "Your friend [Respondent] called me from your home and wanted smoke and I told him
                                 he could bring over a joint and I would smoke it with him."
                   ii.           "I had taken a sleeping pill and I swear I told him he could stay but not to bother me and
                                 just now I woke up ... I asked him if had had sex with me and he said he did!"
                   iii.          "That is not okay! I slept with you because I wanted to but I did not agree to have sex
                                 with him"
                   iv.           "...I obviously didn't want to have sex with him and I just never thought he would do it to
                                 me after I fell asleep."




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         7.   8/26/15 medical records regarding Complainant's visit to local emergency room; includes Encounter
              Summary; Nurse's Notes; Physician Documentation; Victim's Medical History and Assault Information,-
              Visit Summary; School Release Form; Patient Profile Report; Vital Sign Report; and Sexual Assault Exam
              (the last document was a generic set of instructions for any sexual assault patient).


                       a.      Included among other information in the document entitled "Nurse's Notes":


                                     i.       The "Presentation" section was consistent with Complainant's narrative.
                                     ii.      The "Assessment" section stated that at 8:57 am, Complainant brought
                                              them the "underwear that she had worn last night in purse".
                                     iii.    The "ED Section" section stated that at 11:45 am, ER personnel submitted
                                              the completed sexual assault kit to the responding local police detective.


                       b. The "HPI" section located in the document entitled "Physician's Documentation" was
                               consistent with Complainant's narrative.


                               i.    The "HPI" section was consistent with Complainant's narrative.


                               ii.   The "Disposition Summary" section stated that at 11:37 am, "Belongings [were] sent
                               with Patient".


                       c.      In the form entitled "Victim's Medical History and Assault Information", which was
                               completed by the ER nurse:


                             i.      She basically repeated the narrative of what Complainant told her in the "Nurse's
                                     Notes" document (see Section D.7.a.).
                            ii.      As the doctor did in his "Physician Documentation" (see Section D.7.b.), the nurse
                                     noted that vaginal penetration was involved.
                            iii.     In this form ("Victim Medical History..."), the answer given by the nurse to the
                                     question regarding "prescribed medication/alcohol/drugs taken ... prior to or after
                                     assault", was "Ambien, Lorazepam, 2 glasses of wine, %: 12 ounce can beer".




FINDINGS AND CONCLUSIONS

    A. Findings

Respondent corroborated key points of Complainant's allegation. He confirmed that Complainant and he engaged in
sexual intercourse during the early morning hours of August 26, 2015. Both Complainant and he agreed that
Complainant was drinking.

TTU Policy 143 (Sexual Misconduct) defines "sexual assault" as "the nonconsensual sexual contact with the accuser
by the accused, or the accused by the accuser when ... the sexual contact is accomplished without consent of the
accuser, and the accused knows or has reason to know at the time of the contact that the accuser did not or could
not consent." Policy 143 further states that "Ic]onsent cannot be given by an individual who is asleep ... or mentally
or physically incapacitated, either through the effect of drugs or alcohol or for any other reason".



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Both Complainant and Respondent drank alcoholic beverages and smoked marijuana that night. Although there was
a discrepancy about who brought the marijuana, both parties agreed that they smoked a joint at Complainant's
residence.

Complainant told the ER she had consumed a couple glasses of wine and a half can of beer as well as marijuana. Per
Complainant, this consumption occurred prior to ingesting her prescriptions. It is commonly known that mixing
alcohol and medications, particularly sedatives, can significantly increase intoxication levels. However, the
preponderance of the evidence in this case showed that prior to taking the prescriptions, Complainant had already
reached a level of intoxication that would have rendered her ability to consent questionable.

By Respondent's and Complainant's accounts, Complainant's consumption of alcohol and marijuana occurred within
the space of an hour or so prior to them going to bed. In addition, Complainant stated she had consumed "several
glasses" even prior to her phone call that night with Respondent. During the half hour it took Respondent to make it
to her apartment, she indicated she was still drinking when she texted and asked him to bring a corkscrew.

It should be noted that one of the reasons it took Respondent a half hour to make what would ordinarily be a 15-
minute drive was because Complainant became confused and at one point provided him the wrong address. The
text records showed this confusion.

As stated earlier, Complainant had consumed several glasses and was "drunk" prior to the phone call. Complainant's
text records show that prolonged mistaken texting and/or mistaken interpretation of who was texting whom
occurred between 10:04 pm and 11:11 pm. Both Complainant and Respondent stated that their phone call occurred
shortly before or at approximately midnight.


A comparison of other text exchanges.to these two periods of.texting did not indicate similar confusion. This would
support Complainant's account of how much she had been consuming that night.

Respondent himself wondered whether Complainant may have passed out and/or injured herself while she was in
the bathroom —to the point that he tried to check on her via text and later had expected her to explain the noise he
heard. When Complainant texted him from the bathroom to go home, she added that she planned to go to bed and
"pass out", indicating that she was extremely tired.

Respondent stated to us that Complainant had appeared normal and functional each time he saw her that night.
That assessment, especially as the night progressed, did not coincide with the above stated actions and
observations.

Complainant also texted Respondent that consent could not have been given while she was asleep. Respondent and
Complainant alluded to Respondent having to knock on her door to awaken her that night, and Respondent stated
that she was already in bed when he had to retrieve his blanket and then go to his side of the bed. Respondent also
stated more than once that neither said anything when the activity in bed suddenly started or throughout the
activity or at the end of that activity. Respondent clarified that he did not initiate the touching in bed, but he also
never tried to make sure that Complainant was actually awake. This would have been reasonable to do in light of the
drinking and drug use that night.

Respondent indicated that he was under the influence as well from the marijuana and alcohol that night. He stated
that he was "dizzy" at one point and felt that he could not safely drive home. However, Complainant had offered
him two beers, and he indicated that he did not necessarily finish both. He was able to assess and make a decision at
least twice within that hour to determine that he should stay and not drive; during his interview, Respondent



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explained further that he had "been drinking, so [he] wanted to be careful". Based on his text to her, he also was
able to discern that Complainant was at risk of passing out (when she was in the bathroom).

Respondent's credibility was undermined by his assertion that he does not drink alcohol. This was contradicted by
Witness 1's statement to us that Respondent drinks periodically. Respondent's own admission that he accepted
Complainant's offer for him to visit her for the purpose of drinking alcohol does not seem logical, especially since he
stated he had declined her offer when they first met.


Respondent's credibility was further undermined by his statement that he smoked marijuana with Complainant and
not any other time. This statement contradicted his earlier one in which he said that Witness 1 and he smoked
marijuana at Witness 1's apartment the first day the three met. Witness 1 alluded to Respondent's smoking but
stated that he (Witness 1) could not be sure of exactly when Respondent smoked because Witness 1 could not recall
if he started prohibiting smoking in his apartment that month or the next.

Respondent seemed to allude that Complainant was attracted to him before that night because, according to him,
she kept touching his arms and chest while they were at Witness 1's apartment the day they met. Witness 1,
however,,explained that the three of them were talking about working out at the gym [deleted part of sentence
stating that Respondent was shirtless] when that topic arose. Respondent never mentioned that the conversation
correlated with Complainant's touching areas of the body involved in such workouts. This contradicted
Respondent's earlier statement to   us that Witness 1 would attest to Complainant's constant touching of
Respondent. Even if this were the case, it does not outweigh Complainant's later inability to consent to sexual
intercourse.


    B. Conclusions

Based on our investigation into this complaint, we find by a preponderance of the evidence that at the time they
engaged in sexual intercourse, Complainant was incapacitated and unable to grant consent to such contact, and
Respondent knew she was incapacitated and unable to grant consent. Accordingly, Respondent's conduct
constituted "sexual misconduct" and, more specifically "sexual assault", under TTU Policy 143.


RECOMMENDATIONS

Based on our conclusion, we recommend this matter be referred to the Office of the Dean of Students for
appropriate disciplinary action.


We recommend that the Vice President adopt and approve this Investigation Memorandum.




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